              IN THE UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF INDIANA
                      TERRE HAUTE DIVISION


BRUCE CARNEIL WEBSTER,
              Petitioner,

v.                                CAUSE NO. 2:12-CV-86-WTL-MJD
                                  Judge William T. Lawrence
JEFFREY KRUEGAR,
               Respondent.


           RESPONDENT’S POST-HEARING BRIEF AND
     PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW




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              RESPONDENT’S POST-HEARING BRIEF AND
        PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW

      Pursuant to the Court’s order (see Dkt. No. 186), the United States of America, on

behalf of Respondent Jeffrey Kruegar, by and through the United States Attorney for the

Southern District of Indiana and the undersigned Special Assistant United States

Attorney (“the government”) files the following Post-Hearing Brief and Proposed

Findings of Fact and Conclusions of Law.

I.    Introduction

      A.     The offense, conviction, and sentence

      During the fall of 1994, Petitioner Bruce Webster, Orlando Hall, and Marvin

Holloway operated a marijuana trafficking business in Pine Bluff, Arkansas. Webster v.

Daniels, 784 F. 3d 1123, 1125 (7th Cir. 2015).   With the help of Steven Beckley, the

men regularly purchased marijuana from the Dallas/Fort Worth area in Texas and

transported the drugs back to Arkansas. Id. On September 21, 1994, Hall flew to Dallas

to purchase marijuana from two local drug dealers, Stanfield Vitalis and Neil Rene. Id.

That same day, Hall and Beckley met with Vitalis and Rene at a car wash and gave them

$4,700 for the purchase of marijuana, but Vitalis and Rene never delivered the drugs. Id.

      After losing the money, Hall told Holloway to have Webster fly to Dallas to help

because Webster “knew how to handle things like [that].” Id.; Ex. 112 at 283. On

September 24, 1994, Webster flew to Dallas where he met with Hall, Hall’s brother

Demetrius Hall, and Beckley. Webster, at 1125. After they discovered where Neil Rene

                                            1
lived, the four men drove to Rene’s apartment and knocked on the door. Id. at 1126.

Lisa Rene, Neil Rene’s sixteen-year-old sister, was the only person at the apartment. Id.

She refused to let the men in and called the police. Id. Webster, armed with a handgun,

attempted to kick the door in. When that did not work, he and Demetrius Hall broke

through a sliding glass door. Id. Webster went into the apartment, grabbed Lisa Rene,

and dragged her to the car. Id. Webster and his coconspirators took Lisa Rene to a motel

in Pine Bluff, Arkansas.

       After kidnapping her, Webster and the other men repeatedly raped Lisa Rene. Id.

The men held her captive in an apartment, then Webster, Demetrius Hall, and Beckley

drove her over 300 miles to Pine Bluff Arkansas. Id. When they arrived, Webster rented

a motel room. Id.; Ex. 110 at 3342-44. The men continued to sexually assault Lisa Rene

at the motel. Webster, at 1126.

       The next morning, the men determined that Lisa Rene knew too much, and

decided to kill her. Id. Webster and Hall went to a park, selected a remote location, and

dug a grave. Id. That evening, Webster and his coconspirators took Lisa Rene to the

park, but it was too dark to find the grave, so they returned her to the motel. Id. In the

morning, they moved her to a different motel room. Id.

       Later that morning, Webster and the two other men took Lisa Rene back to the

park. Id. Webster and Hall led Beckley and Lisa Rene to the gravesite. Id. When they

arrived at the grave, Webster and Hall beat Lisa Rene unconscious with a shovel. Id.


                                              2
Webster then gagged her, dragged her to the grave, stripped her, poured gasoline on her,

and pushed her into the grave. Id. Webster then buried Lisa Rene alive. Id.

         Shortly after the murder, Lisa Rene’s brothers spoke to police and gave

information that lead to Hall and Beckley’s arrests. Id. Beckley confessed and

implicated Webster. Id. Webster was arrested at the motel shortly thereafter. Id. After

his arrest, Webster confessed to murdering Lisa Rene and led police to her grave. Ex.

110 at 158, 3326, 3335-3351.

         In 1996, a jury found Webster guilty of kidnapping resulting in death in violation

of 18 U.S.C. § 1201(a)(1) (count one), conspiracy to commit kidnapping in violation of

18 U.S.C. § 1201(c) (count two), and using and carrying a firearm during a crime of

violence in violation of 18 U.S.C. § 924(c) (count six). Tr. 21B:2:10-11. The verdict as

to count one subjected Webster to a maximum sentence of death. 18 U.S.C. § 1201(a)(1).

         During a separate sentencing hearing before the same jury, Webster's defense team

argued that Webster was mentally retarded 1 and thus could not be sentenced to death

pursuant to 18 U.S.C. § 3596(c). In support of their argument, defense counsel

introduced Webster’s IQ scores, testimony from Webster’s friends and family, and

testimony from four expert witnesses. The government presented evidence from expert

witnesses as well as teachers, principals, and others who knew Webster. The jury was



1 In earlier stages of this litigation, attorneys and courts referred to intellectual disability as “mental retardation.”
The two terms are synonymous, and can be used interchangeably, though the former has gained a pejorative
connotation and is no longer commonly used. Hr. Tr. 29:22-30:11. This brief will use both terms as necessary to
preserve the references made by the parties at the time.
                                                             3
instructed that each juror could determine, by a preponderance of the evidence, whether

he or she believed that Webster “is or may be mentally retarded,” and could consider this

as a mitigating factor if they so found. Tr. 27:21:2. 2 The jury was also asked to find

whether Webster “has low intellectual functioning,” whether “as a result of . . . low

intellectual functioning [Webster] has a lesser capability to appreciate the wrongfulness

of his conduct, or to conform his conduct to the requirements of the law than a normal

person,” and whether Webster was “unduly susceptible to the influence of others.” Tr.

27:21:3-18.

         In its special verdict, only four jurors found that Webster was “or may be”

mentally retarded, and only four found that he had “low intellectual functioning.” Tr.

27:102:17. None of the jurors found that “as a result of . . . low intellectual functioning

[Webster] has a lesser capability to appreciate the wrongfulness of his conduct, or to

conform his conduct to the requirements of the law.” Tr. 27:102:19. Likewise, none of

the jurors found that Webster was “unduly susceptible to influence by others.” Tr.

27:102:19-20. The jury unanimously found that the aggravating factors in Webster’s

case outweighed the mitigating factors, and recommended a sentence of death. Tr.

27:102:23 – 103:5.




2 Citations to the trial record are in the following format: “Tr. volume:page:line.”
                                                           4
       The district court found that Webster was not mentally retarded, and that 18

U.S.C. § 3596 did not apply. Tr. 26:227:22-25. The district court sentenced Webster to

death. Tr. 27:105:5-6.

       B.     The direct appeal

       Webster appealed his convictions and sentence to the Fifth Circuit arguing, among

other things, that his death sentence was unconstitutional because he was, in fact,

mentally retarded. The Fifth Circuit affirmed the sentence, and held that “[t]he

government presented substantial evidence to support the finding [that Webster was not

mentally retarded].” United States v. Webster, 162 F.3d 308, 353 (5th Cir. 1998). The

Supreme Court denied Webster’s petition for certiorari. Webster v. United States, 528

U.S. 829, 120 S. Ct. 83, 145 L. Ed. 2d 70 (1999).

       C.     The 28 U.S.C. § 2255 challenge and appeal

       On September 29, 2000, Webster timely filed a motion for relief pursuant to 28

U.S.C. § 2255. Again, Webster argued that his death sentence was improper because he

was mentally retarded. Webster also argued that his counsel was ineffective in failing “to

investigate and present additional evidence demonstrating mental retardation and the

extreme abuse Webster suffered as a child.” United States v. Webster, 392 F.3d 787, 793

(5th Cir. 2004). After an extensive and detailed review of the evidence presented at trial

regarding Webster’s intellectual functioning, the district court denied his motion, finding

that the evidence introduced at trial “supports a finding that Webster is not mentally

retarded and therefore is not rendered ineligible for the death penalty under either Atkins
                                             5
or 18 U.S.C. § 3596(c).” Webster v. United States, 2003 WL 23109787, at *14 (N.D.

Tex. Sept. 30, 2003). The district court nevertheless granted a certificate of appealability

as to two of Webster’s claims: “first, that the evidence presented at trial was insufficient

to warrant the district court’s finding that Webster is not mentally retarded; and second,

that his alleged retardation renders him ineligible for a death sentence.” United States v.

Webster, 421 F.3d 308, 310 (5th Cir. 2005).

       Webster appealed, but the Fifth Circuit again rejected his arguments regarding his

alleged mental retardation and provided the following explanation for its decision:

       Webster claims he is mentally retarded and thus ineligible for his death
       sentence, but . . . Webster's brief does not point to any new evidence
       bearing directly on his mental capacity; instead, it summarizes the evidence
       presented at trial concerning his cognitive abilities and childhood
       experiences.

       Webster cannot, however, continue to litigate this claim hoping that some
       court eventually will agree with him. The question whether he is mentally
       retarded was, as the district court observed, “a highly contested one at
       trial,” and Webster failed to convince either the district court that he is
       retarded or, moreover, a majority of the jurors that he is or even may be
       retarded.

Id. at 313-14 (citation omitted) (emphasis in original). Webster’s petition for a writ of

certiorari was denied by the Supreme Court. Webster v. United States, 549 U.S. 828, 127

S. Ct. 45, 166 L. Ed. 2d 47 (2009).

       D.     The second 28 U.S.C. § 2255 challenge

       On October 22, 2009, Webster petitioned the Fifth Circuit for authorization to file

a second motion for relief under 28 U.S.C. § 2255. Pursuant to § 2255(h)(1), a second or

                                              6
successive motion must be certified as provided in § 2244 by a panel of the appropriate

court of appeals to contain—(1) newly discovered evidence that, if proven and viewed in

light of the evidence as a whole, would be sufficient to establish by clear and convincing

evidence that no reasonable factfinder would have found the movant guilty of the offense.

       Webster argued that a successive § 2255 motion was warranted because he had

newly discovered evidence “in the form of government and school records and additional

testimony” establishing that he is mentally retarded, and thus, ineligible for the death

penalty. In re Webster, 605 F.3d 256, 257 (5th Cir. 2010). Webster’s newly discovered

evidence included records from the Social Security Administration indicating that he was

diagnosed with mental retardation months before he kidnapped, raped, and murdered Lisa

Rene, and a letter from his school declaring that it had destroyed Webster’s special

education records.

       Webster argued that, had this evidence been presented at trial, it would have

refuted the government’s arguments that he was pretending to be mentally retarded to

avoid the death penalty and that he was lying when he said he attended special education

classes. The Fifth Circuit, however, held that a petitioner cannot bring a successive claim

under § 2255(h)(1) if he does not assert that the newly discovered evidence would negate

his guilt. Because Webster’s newly discovered evidence challenged only his sentence

and not the finding of guilt, the court denied Webster’s request to file a subsequent §

2255 motion.


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       E.     The 28 U.S.C. § 2241 challenge and appeal

       Subsequently, Webster sought relief from the District Court for the Southern

District of Indiana (where he is being incarcerated) pursuant to 28 U.S.C. § 2241 based

on the same evidence that formed the basis of his second 28 U.S.C. § 2255 request. On

November 13, 2013, this Court denied Webster’s petition for a writ of habeas corpus

under 28 U.S.C. § 2241 based on reasoning similar to that the Fifth Circuit had used to

deny his second § 2255 claim.

       Webster appealed. On May 1, 2015, an en banc panel of the Seventh Circuit

issued a mandate holding that there is no absolute bar to the use of the safety valve found

in § 2255(e) for new evidence that would demonstrate categorical ineligibility for the

death penalty. Webster v. Daniels, 784 F. 3d 1123 (7th Cir. 2015). The court held that

“[f]urther proceedings are necessary, however, before the district court can reach the

merits of his habeas corpus petition. The district court must hold a hearing for the

purpose of deciding whether the Social Security records were indeed unavailable to

Webster and his counsel at the time of the trial.” Webster v. Daniels, 784 F. 3d 1123,

1145 (7th Cir. 2015). The court further held that, if the district court finds that the social

security records were unavailable, it would turn to the merits of the petition: “is Webster

so intellectually disabled that he is categorically ineligible for the death penalty under

Atkins and Hall?” Id. at 1146.




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       F.     The instant litigation

       On August 31, 2018, this Court found that the Social Security records identified

by Webster were unavailable to him at the time of trial and that “Webster has satisfied the

savings clause, and the Court next must turn to the merits of the petition and determine

whether Webster is so intellectually disabled that he is categorically ineligible for the

death penalty. Webster v. Lockett, 2018 US Dist. LEXIS 148669 (S.D. Ind.). This Court

must now determine whether Webster is intellectually disabled. Webster v. Daniels, 784

F. 3d 1123, 1146 (7th Cir. 2015).

II.    Legal Standard

       Webster bears the burden of proving, by a preponderance of the evidence, that he

is so intellectual disabled that he is categorically ineligible for the death penalty. Webster

v. Daniels, 784 F. 3d 1123, 1146 (7th Cir. 2015). In determining whether Webster has

such a disability, this Court may rely on the diagnostic criteria set forth in the American

Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders (5th ed.

2013) (DSM–5) and the American Association on Intellectual and Developmental

Disabilities, Intellectual Disability: Definition, Classification, and Systems of Supports

(11th ed. 2010) (AAIDD–11). Moore v. Texas, 139 S. Ct. 666, 668 (2019). As discussed

in more detail below, these two volumes both provide that in order to establish that he has

an intellectual disability, Webster must prove that he has: (1) deficits in intellectual

functioning; (2) adaptive deficits that limit functioning in daily life; and (3) that the onset


                                               9
of these deficits occurred while Webster was a minor. 3 DSM-5 at 37-38. Additionally,

“to meet the diagnostic criteria for intellectual disability, the deficits in adaptive

functioning must be directly related to the intellectual impairments described in [the

intellectual functioning criterion].” Id. at 38.

III.     Diagnostic Criteria for Intellectual Disability

         “Intellectual disability is a disorder with onset during the developmental period

that includes both intellectual and adaptive functioning deficits in conceptual, social, and

practical domains.” DSM-5 at 33. To make a diagnosis of intellectual disability, the

following criteria must be met: (1) deficits in intellectual functions confirmed by both

clinical assessment and standardized intelligence testing; (2) deficits in adaptive

functioning that result in failure to meet developmental and socio-cultural standards for

personal independence and social responsibility; and (3) onset of deficits prior to age 18.

Id. In addition, “to meet the diagnostic criteria for intellectual disability, the deficits in

adaptive functioning must be directly related to the intellectual impairments described in

[the intellectual functioning criterion].” Id. at 38.

         A.       Intellectual functioning

         The first prong involves an assessment of an individual’s intellectual functioning,

that is, reasoning, problem solving, abstract thinking, learning, and practical



3 The third prong does not appear to be at issue in this case. Webster claims that he has been intellectually disabled
since he was a child, and the government maintains that Webster is not and has never been intellectually disabled.
Neither party claims that Webster’s intellectual ability has changed over the course of his life such that the date of
onset of any disability would become a relevant inquiry. Accordingly, the government will not conduct any
significant analysis of the third prong.
                                                          10
understanding. DSM-5 at 37. Intellectual functioning is typically measured with well-

accepted tests of intelligence, known as intelligence quotient (IQ) tests. Id. The validity

of IQ test results can be undermined by several factors, and in some instances an IQ score

may be insufficient to assess an individual’s actual intelligence and ability to reason in

real-life situations. Id. Accordingly, clinicians have to be aware of factors that could

artificially depress or inflate an IQ score, must be on alert for the presence of factors that

could undermine the validity of test results, and must be skeptical of results that

contradict other information about the individual’s intellectual ability. Id. In short,

“[C]linical judgment is needed in interpreting the results of IQ tests.” Id.

               1.     IQ testing

       Generally, in order to satisfy the intellectual functioning criterion of an intellectual

disability diagnosis, an individual must have an IQ score two standard deviations or more

below the population average (mean). Id. IQ tests typical have a mean score of 100, and

a standard deviation of 15. Id. Assuming a standard measurement error of +/- 5, that

means that an individual with a score at or below 65-75 (70 +/- 5) would generally satisfy

this criterion. Id.

       However, clinical training and judgment are necessary to interpret test results and

assess actual intellectual performance. Id. A variety of factors other than the individual’s

actual intellectual ability can influence performance on an IQ test. Id. Socio-cultural

factors may artificially depress test scores, as may disorders (other than intellectual

disability) that affect communication or motor skills. Id. A clinician must consider
                                              11
confounding variables when assessing whether an IQ score is an accurate representation

of an individual’s intellectual functioning. Id.

       Unusual test results may also render an IQ score invalid. For instance, “highly

discrepant individual subtest scores may make an overall IQ score invalid.” Id. That is,

if an individual has wide variation between his performance and verbal subtest scores, the

entire result is invalid. Id.; Hr. Tr. 539:3-5.

              2.      Malingering

       Clinicians conducting IQ testing must also be on alert for the possibility

that an individual is malingering, that is, intentionally doing poorly on the test in

order to achieve some secondary goal. DSM-5 at 726-27. Malingering should be

suspected whenever an incentive is present to feign disability, but malingering

should be strongly suspected if testing occurs during litigation, if there is a marked

discrepancy between test results and observational data, or if the test subject has

antisocial personality disorder. Id. The presence of malingering renders test

scores invalid.

       B.     Adaptive functioning

       The second criteria for a diagnosis of intellectual disability is “an impairment in

everyday adaptive functioning in comparison to age-, gender-, and socioculturally-

matched peers.” DSM-5 at 37. Adaptive functioning involves skills in three domains:

(1) the conceptual domain; (2) the social domain; and (3) the practical domain. Id.

Adaptive functioning is assessed via clinical evaluation and standardized measures. Id.
                                                  12
Information for such assessments can be gathered from the subject, family members

teachers, care providers, and other “knowledgeable informants.” Id. All data must be

“interpreted using clinical judgment.” Id.

       The adaptive functioning criteria is satisfied only when at least one of the three

domains of adaptive functioning (conceptual, social, or practical) is so impaired that the

subject needs “ongoing support” to perform adequately in real-life settings. Id. at 38.

Adaptive functioning must be evaluated “in comparison to others of similar age and

sociocultural background.” Id. Thus, someone from an underprivileged environment

should not be compared against a median individual. Additionally, “education,

motivation, socialization, personality features, vocational opportunity, cultural experience

and coexisting medical conditions or mental disorders can all influence adaptive

functioning.” Id. Likewise, the AAIDD-11 cautions that “[a] person whose opportunities

to learn adaptive skills has been restricted in comparison to same-age peers may have

acquisition deficits unrelated to ID [intellectual disability].” AAIDD-11 at 52.

       It is important to consider, then, whether adaptive deficits are caused by factors

other than deficits in intellectual functioning. A lack of work history, for instance, would

not be evidence of a deficit if an individual lacks job opportunities due to socioeconomic

factors. See DSM-5 at 37. The inability to shop would not be related to intellectual

disability if an individual had “not been provided opportunities to make purchases.”

AAIDD-11 at 52-53. Likewise, one “must consider relevant ethnic and cultural factors,”

because “[b]ehavioral expectations may differ across cultural groups, along with
                                             13
education and training in adaptive skills.” AAIID-11 at 53. Consequently, the failure to

perform certain daily tasks would not be evidence of intellectual disability if those tasks

were not taught to or expected of an individual in the subject’s cultural environment.

       As discussed in more detail below, “[t]o meet the diagnostic criteria for

intellectual disability, the deficits in adaptive functioning must be directly related to the

intellectual impairments” required in the first criteria. DSM-5 at 38. The adaptive

functioning criteria is not satisfied if deficits are the result of lack of opportunity or lack

of motivation.

              1.      Conceptual domain

       The conceptual domain is one of three categories of adaptive functioning. The

conceptual domain involves memory, language, reading, writing, mathematical

reasoning, problem solving, practical knowledge, and judgement in novel situations.

DSM-5 at 37. Many of the skills in this domain are utilized and tested most directly in

academic settings, and the domain is consequently referred to in the DSM parenthetically

as “the academic domain.” Id. Of course, many of the skills involved in this domain can

also be observed outside the classroom setting.

       In individuals with mild intellectual disability, deficits in the conceptual domain

present as “difficulties in learning academic skills involving reading, writing, arithmetic,

time, or money.” DSM-5 at 34. In adults, “abstract thinking, executive function (i.e.

planning, strategizing, priority setting, and cognitive flexibility), and short-term memory


                                               14
as well as functional use of academic skills (e.g. reading, money management), are

impaired.” Id.

                2.     Social domain

         The social domain is the second category of adaptive functioning. It involves the

ability to carry on interpersonal relationships. Specifically, skills in this domain consist

of awareness of others’ thoughts and feeling, interpersonal communication skills,

friendship abilities, and social judgment. DSM-5 at 37. Deficits in this domain, even

among mildly intellectually disabled people, may be apparent even to lay people. DSM-5

at 34.

         Individuals with mild intellectual disability are often “immature in social

interactions,” due to “difficulties perceiving peers’ social cues.” DSM-5 at 34.

Communication, conversation, and language are more “concrete” and “immature” than

that of peers. Id. Individuals with mild intellectual disability have “difficulties

regulating emotion and behavior,” and these difficulties “are noticed by peers in social

situations.” Id. Individuals with deficits in this domain have “limited understanding of

risk in social situations,” and are likely to be gullible and “at risk of being manipulated by

others.” Id.

                3.     Practical domain

         The final category of adaptive functioning is known as the practical domain. The

practical domain involves “learning and self-management across life settings,” that is, the

ability to perform day-to-day tasks such as “personal care, job responsibilities, money
                                              15
management, [and] recreation.” DSM-5 at 37. Individuals with mild intellectual

disability “need support with complex daily living tasks,” including “grocery shopping,”

“transportation,” “nutritious food preparation,” and “banking and money management.”

DSM-5 at 34.

         C.       Relationship between deficits

         “To meet diagnostic criteria for intellectual disability [any] deficits in adaptive

functioning must be directly related to the intellectual impairments described [in the

intellectual functioning criteria].” DSM-5 at 38; Hr. Tr. 521:23-522:8. 4 This

requirement means that adaptive functioning deficits that are solely attributable to some

cause other than a deficit in intellectual functioning do not meet the diagnostic criteria for

intellectual disability. Id. For instance, if someone were unable to maintain basic

hygiene due to severe depression, that deficit would not meet the diagnostic criteria for

intellectual disability. Ex. 101 at 40; Hr. Tr. 522:19-523:7.

IV.      Webster is Not Intellectually Disabled

         A.       Webster’s evidence of intellectual functioning is unreliable

         In order to prove that he is intellectually disabled, Webster must first show that he

has significant deficits in intellectual functioning. DSM-5 at 37. To do so, he must

produce reliable evidence that he has an IQ at least two standard deviations below the

mean. AAIIDD-11 at 27. That would typically equate to a score at or below 75 (a score



4 Citations to the hearing that took place before this Court between April 1, 2019 and April 5, 2019 are in this
format: “Hr. Tr. page:line.”
                                                          16
of 70 is two standard deviations below the mean, and the standard error of measurement

is usually +/-5, meaning that a score of 75 or below would fall within the appropriate

range.) DSM-5 at 37. But while Webster has a number of tests with scores low enough

to qualify, none of those scores are reliable. To the contrary, Webster’s IQ test scores are

invalid, and should be disregarded entirely.

              1.     Webster’s IQ test scores vary widely

       In his report, Webster’s expert Dr. Daniel Reschly expressed concern about the

validity of Webster’s IQ test results due to the discrepancy between his very low scores

and his higher apparent real world functioning. Ex. 39 at 29. But Dr. Reschly assuaged

his doubts by noting that Webster had produced “general ability scores at or slightly

above this level” on other IQ tests. Id. In other words, while Dr. Reschly was (rightly)

skeptical about the extremely low IQ score that Webster produced for him, he argued that

because Webster’s prior IQ scores were consistent, there was no need for concern.

       Dr. Reschly was right to be skeptical about the results of Webster’s IQ test. But

he was wrong that Webster’s other test results were consistent with the test Dr. Reschly

administered. In fact, Webster’s IQ test scores vary so widely that they should be treated

as invalid on that basis alone.




                                               17
       Webster has been tested on a number of occasions, and has produced the following

IQ test scores:

                  Psychologist                     Year                  Score

 Dr. Patrick Caffey                              1992        48 (Full scale)
 (Arkansas Department of Mental Health)                        56 (Verbal)
                                                               48 (Performance)
 Dr. Edward Hackett                              1993        59 (Full scale)
 (Social Security Administration)                              71 (Verbal)
                                                               49 (Performance)
 Dr. Raymond Finn                                1995        59 (Full scale)
 (Defense trial expert)                                        59 (Verbal)
                                                               60 (Performance)
 Dr. Dennis Keyes                                1995        55 (Composite)
 (Defense trial expert)                                        67 (Crystalized)
                                                               46 (Fluid)
 Dr. Raymond Finn                                1996        65 (Full scale)
 (Defense trial expert)                                        72 (Verbal)
                                                               59 (Performance)
 Dr. Dennis Keyes                                1996        51 (Full scale)
 (Defense trial expert)                                         N/A (Verbal)
                                                                N/A (Performance)
 Dr. George Parker                               1996        72 (Full scale)
 (Government trial expert)                                     77 (Verbal)
                                                               67 (Performance)
 Dr. Robert Denney                               2018        61 (Full scale)
 (Government expert)                                           63 (Verbal)
                                                               69 (Performance)
 Dr. Daniel Reschly                              2018        53 (Full scale)
 (Webster expert)                                               N/A (Verbal)
                                                                N/A (Performance)


       There is a wide variation, or “scatter” between these scores. Indeed, Webster’s

own expert, Dr. John Fabian, admitted that the difference between the highest (72) and

lowest (48) scores was greater than one standard deviation, and was “a statistically

                                            18
significant difference.” Hr. Tr. 827:8-828:5. And, even if those two scores are

eliminated due to concerns about their validity, the next highest (65) and next lowest (51)

scores still have a statistically significant difference between them according to Dr.

Fabian. Hr. Tr. 828:6-10. In fact, as Dr. Fabian admitted, Webster’s second highest IQ

score (65) falls within the range for mild intellectual disability, while his second lowest

score (51) falls within the range for moderate intellectual disability. Hr. Tr. 828:11-14.

The difference in Webster’s scores is not only statistically significant, but is so great that

the scores fall into different categories of impairment.

       Webster’s IQ scores are so inconsistent that even scores that initially appear

identical actual vary significantly upon further inspection. For instance, Webster

produced full-scale IQ scores of 59 on both Dr. Raymond Finn’s and Dr. Edward

Hackett’s WAIS-R IQ tests. But Webster’s performance score on the former (49) varied

significantly from his performance score on the latter (60). Likewise, his verbal score on

the former (71) varied significantly from his verbal score on the latter (59). In

comparison to Dr. Finn’s test, Dr. Hackett scored Webster much better on the verbal

portion and much worse on the performance portion. Only by mere coincidence were the

composite scores of both tests the same. The subtest scores show extraordinary

inconsistency.

       Examining the subtest scores within a test is also an important tool in analyzing

the validity of IQ tests. Hr. Tr. 529:9-13. The DSM-5 explains that “highly discrepant

individual subtest scores may make an overall IQ score invalid.” DSM-5 at 37; see also
                                              19
Hr. Tr. 539:3-5. This is true for several reasons. First, an IQ score is supposed to be a

summary indicator of a person’s general cognitive abilities. Hr. Tr. 539:7-17. If one

subtest scores is particularly low, while the other is substantially higher, the overall score

no longer does a good job of representing the individual’s ability. Id. Instead, the low

score pulls down the higher score, and the result underestimates the individual’s real

ability. Id. For this reason, if the difference between subtest scores exceeds twenty

points, the test publishers admonisher the tester not to rely on the full scale IQ score. Hr.

Tr. 540:1-8.

       Second, research indicates that even in low-IQ individuals, subtest scores do not

vary widely. Hr. Tr. 540:18-541:8; Ex 101 at n.1. Indeed, the manual for the WAIS-IV

IQ test explains that “[m]any studies have been conducted to evaluate the performance of

individuals with intellectual disability on previous versions of the Wechsler intelligence

scales. The prevalence of large and unusual discrepancies between verbal and nonverbal

composite scores has been shown to decrease with decreasing levels of ability.” Ex. 101

at n.1. In other words, according to the test publishers themselves, as an individual’s

overall IQ decreases, so does the spread between subtest scores. Wide variations

between subtest scores, therefore, are particularly rare in low-IQ individuals. Id.

       Webster, however, produced widely varying subtest scores. For instance, on the

test administered by Dr. Dennis Keyes, Webster produced a “crystal intelligence” score

of 67, but a “fluid intelligence” score of 46. Hr. Tr. 643:17-21. This “huge split” renders

the full scale score of 55 invalid because there is “too much variability” between the
                                              20
subtest scores. Id. Likewise, the variation between Webster’s verbal IQ score (71) and

performance IQ score (49) on the test administered by Dr. Hackett for the Social Security

Administration renders the full scale score (59) invalid. Hr. Tr. 646:19-647:9; Ex. 101 at

14.

       Variations between subtest scores as extreme as those produced by Webster

simply “do not occur in the absence of a catastrophic neurological insult after the

developmental period.” Ex. 101 at 14. Webster claims no such injury. Accordingly, the

fact that Webster has produced such widely varying subtest scores proves beyond any

doubt that his IQ scores are invalid.

              2.      Webster’s test results are mutually contradictory

       Research shows that when people suffer from genuine cognitive problems, they

tend to produce certain patterns when answering questions during an IQ test. Hr. Tr.

540:16-25. So, for instance, an individual with genuine cognitive problems would not

typically miss easy questions, but correctly answer difficult ones. Hr. Tr. 541:1-8. Nor

would someone with genuine intellectual disability do well on one test, but very poorly

on a similar test. Hr. Tr. 581:20-25. Inconsistent results like these demonstrate that the

test results are not accurate reflections of an individual’s ability.

       Webster demonstrated precisely these kind of inconsistencies. For instance,

Webster’s performance during the attention module of the neuropsychological

assessment battery (NAB) “suggested severe difficulties with attention.” Hr. Tr. 556:5-9.

But, during the continuous performance task, Webster performed normally, even though
                                               21
the latter “is a more difficult test of attention.” Hr. Tr. 556:9-18. The discrepancy is

striking because the continuous performance task is so difficult that “if your basic

focused attention is impaired . . . you can’t do the task.” Id. The two results simply

“don’t make clinical sense” together. Hr. Tr. 556:22-23.

       Likewise, when Dr. Robert Denney administer the Minnesota Multiphasic

Personality Inventory (MMPI), Webster produced results that showed he was “able to

understand the items” and “respond based on item content.” Hr. Tr. 581:12-13. But

Webster also produced a score of 61 on an IQ test administered by Dr. Denney. Ex. 101

at 37. Webster’s MMPI result is wholly inconsistent with someone who scored 61 on an

IQ test. Hr. Tr. 581:17-25. Someone with an IQ score that low would simply not be able

to understand the MMPI as well as Webster did. Id. Now would someone with a 61 IQ

be able to do as well as Webster did on Dr. Denney’s Test of Premorbid Functioning

(TOPF). Ex. 101 at 37.

       Webster also got high scores on the Test of Memory Malingering (TOMM), a test

administered by Dr. Reschly. Hr. Tr. 699:10-21. But Webster produced a score of 53 on

the IQ test administered by Dr. Reschly. Id. Research shows that individuals with IQ

scores that low typically fail the TOMM. Hr. Tr. 699:25-700:13. Once again, Webster’s

test results are inconsistent. The extremely low IQ score that Webster produced for Dr.

Reschly cannot stand along with his good performance on the TOMM and other tests. Id.

       Accordingly, many of Webster’s test results contradict one another. He produces

extremely low scores on some tests, but does well on other, similar tests. He does well
                                             22
on harder tests than on easier ones. And he produces IQ scores that are so extremely low

that he should not even be able to complete other tests. These contradictions lead to a

simple conclusion: Webster is attempting to feign a disability and his uneven effort

occasionally produces contradictory results. His IQ test scores, then, must be treated as

invalid.

              3.      Webster’s IQ test scores are inconsistent with his functioning

       IQ test scores, if valid, should correlate to real-life functioning. Hr. Tr. 529:18-25.

In short, test results should make clinical sense. 541:9-542:6. When a psychologist

conducts a clinical interview, he should be able to “get a good sense for the person’s

cognitive presentation, which would include a mental status examination of [his or her]

attention skills, ability to stay on task, verbal skills, reasoning skills, impulse control

skills, [and] speed of mental processing.” Hr. Tr. 541:12-18. Dr. Fabian testified that

psychologists can form a reasonable impression about someone’s intelligence during a

single conversation. Hr. Tr. 825:8-15. And he explained that if his impression of an

individual’s intellect during a clinical interview was very different than that individual’s

IQ score, he would question the validity of the test results. Hr. Tr. 825:18-24.

       Psychologists also take histories and conduct examinations to evaluate a person’s

real-world functioning. Hr. Tr. 541:22-542:20. If test scores are highly inconsistent with

real-life functioning, then the scores are likely invalid. Id. “Real-world functioning

always trumps psychological test results.” Id. Invalid scores are “worthless,” and cannot

be relied upon at all. Hr. Tr. 542:21-543:1.
                                               23
       In Webster’s case, Dr. Denney observed “no indications of substantially below

average cognitive functioning” during his 3-hour clinical interview. Hr. Tr. 549:3-4. Dr.

Denney noted that Webster’s “attention and concentration were good,” that his “speed of

mental processing was quick,” and that “[h]e was articulate. He was able to carry on

rapid conversation with me and at the same time also provid[e] witty comments about

what [was] going on around us as we [were] interacting.” Hr. Tr. 549:2-9. Webster

displayed a good memory and had no motor problems. Hr. Tr. 549:10-14. In summary,

“Mr. Webster presented, frankly, normally.” Hr. Tr. 2-3. But Webster produced a full

scale IQ score of 61 on Dr. Denney’s test. Hr. Tr. 553:12-23. This very low score

“represent[ed] a level of cognitive function that is strikingly below” Webster’s clinical

presentation. Id. The scores was inconsistent with everything that Dr. Denney had

observed.

       Likewise, Webster’s neuropsychological assessment battery (NAB) attention

module test results showed an “exceedingly slow” speed of mental processing that was

“inconsistent with his speed of mental processing when [Webster was] not performing a

test.” Hr. Tr. 555:12-19. Dr. Denney observed that when he and Webster were talking,

Webster “showed very quick mental processing; and yet, when I put a test in front of him

. . . he demonstrated very slow speed of mental processing.” Hr. Tr. 583:17-20. This

change was “striking,” and “indicative of feigning.” Hr. Tr. 583:21-22.

       Webster’s extremely low IQ scores also fail to correlate with his behavior outside

the clinical setting. Hr. Tr. 622:25-626:6. For instance, Dr. Reschly concluded that
                                             24
Webster had “certainly mastered the basic fundamental daily living skills of eating,

toileting, dressing, [and] things of that nature.” Hr. Tr. 279:11-13. But Webster

produced a score of 53 on an IQ test administered by Dr. Reschly. Hr. Tr. 629:22-25.

An individual with a 53 IQ would be “severely impaired as far as daily functioning goes.”

Hr. Tr. 630:7-8. Webster’s IQ results, therefore, are inconsistent with his known

abilities.

        Likewise, Webster was able to drive a car. See, e.g., Hr. Tr. 245:5-10; Ex. 102 at

51; Ex. 113 at 543. But his ability to drive is flatly inconsistent with IQ scores in the 40’s

and 50’s. Hr. Tr. 627:11-19. As Dr. Denney explained, for people with IQ’s that low,

“[i]t’s not that they can’t drive well. They can’t drive . . . we’re talking about motor

skills that are too poor to effectively drive.” Hr. Tr. 627:23-25. Even Webster’s expert

Dr. Fabian admitted that “it would be difficult” for someone with an IQ in the 50’s to

drive a car. Hr. Tr. 829:2-8.

        This inconsistency is even more apparent when one examines Webster’s subtest

scores. For instance, on an IQ test administered by Dr. Keyes, Webster scored a 46 in

“fluid intelligence,” which is “basically the [same] concept [as] performance

intelligence.” Hr. Tr. 643:17-644:25. A genuine score this low would mean that Webster

had such severe motor impairments that he would be unable to drive, play drums, or play

the guitar. Id. Likewise, the “performance index” score of 49 that Webster produced

during his Social Security examination would, if genuine, mean Webster would be unable

to drive or play musical instruments. Hr. Tr. 647:10-13. Even Dr. Fabian admitted that it
                                             25
would be “extraordinarily difficult” for someone with a performance IQ of 49 to play a

guitar. Hr. Tr. 830:21-831:4. But there is no dispute that Webster can drive, play guitar,

and play drums. In fact, Webster was such a good drummer that he and his brother were

paid to perform at gospel concerts. Ex. 101 at 7. His extremely low performance subtest

scores, then, simply “can’t be valid.” Hr. Tr. 647:14.

       Thus, while some of Webster’s abilities are not necessarily inconsistent with a

very mild intellectual disability, those abilities are inconsistent with the extremely low IQ

scores Webster produced. See, Hr. Tr. 628:1-3; 631:7-9; 641:11-642:1; 645:19-23.

Indeed, even Webster’s own experts expressed surprise at the discrepancy between his IQ

scores and his real world presentation. Hr. Tr. 646:11-14. And because “[r]eal-world

functioning always trumps psychological test results,” Webster’s IQ scores must be

considered invalid, and cannot be relied upon at all. Hr. Tr. 541:22-543:1.

              4.     There is substantial evidence of malingering

       Malingering is “the intentional production of false or grossly exaggerated physical

or psychological symptoms, motivated by external incentives such as . . . obtaining

financial compensation [or] avoiding criminal prosecution.” DSM-5 at 726. Malingering

is not an illness, but can actually “represent an adaptive behavior.” Id. at 726-27. Thus,

Webster’s malingering is not only rationally motivated by external incentives (the desire

to obtain financial compensation from the Social Security Administration and the desire

to avoid capital punishment), but it actually constitutes evidence of his adaptive abilities.

That is, his ability to recognize the value of malingering and feign symptoms of
                                             26
intellectual disability show strong adaptive skills in the conceptual domain (planning,

strategizing, priority setting, and cognitive flexibility). See DSM-5 at 34.

       The evidence that Webster is malingering is overwhelming. As discussed above,

his test scores alone provide substantial proof that Webster was feigning a disability.

Additionally, the diagnostic literature cautions that in cases like Webster’s, malingering

should be suspected. And the specific evidence shows that he was doing so.

                     a.     Webster raises three of the four malingering concerns in
                            DSM-5

       The DSM-5 states that:

       Malingering should be strongly suspected if any combination of the
       following [factors] is noted:

              1. Medicolegal context of presentation (e.g. the individual was
                 referred by an attorney to the clinician for examination).

              2. Marked discrepancy between the individual’s claimed stress or
                 disability and the objective findings and observations.

              3. Lack of cooperation during the diagnostic evaluation and in
                 complying with the prescribed treatment regimen.

              4. The presence of antisocial personality disorder.

DSM-5 at 727. At least three, and possibly all four, of those factors are present in

Webster’s case. Malingering, therefore, must be “strongly suspected.” Id.

       Webster’s testing occurred in a medicolegal context. In the vast majority of

his tests, Webster was referred to the testing psychologist by an attorney during his

capital-case litigation. And, with respect to his Social Security evaluation, the

                                             27
testing was conducted to determine his legal eligibility for Social Security

benefits. Accordingly, Webster’s testing clearly occurred in a medicolegal

context.

       Webster also showed a “marked discrepancy between” his claimed

disability and the objective observations. In fact, even Webster’s own experts

were surprised by his test results. At his original trial, Webster’s expert Dr. Keyes

testified that “I have to admit the first time I tested Bruce Webster, I felt very

concerned because this is not a person who comes off with an IQ of that area. I

didn’t expect him to be functioning that low.” Hr. Tr. 332:23-334:3. Dr. Reschly

also noted that Webster’s IQ test scores “might be questionable,” and that he and

other experts “had the impression that [Webster] might do better than he did [on

any of the IQ tests] because of how verbal he was.” Hr. Tr. 334:17-23. Likewise,

Dr. Hackett noted that there was a discrepancy between Webster’s IQ scores and

his history. Ex. 102 at 50. Dr. Charles Spellman, who evaluated Webster for the

Social Security Administration, but did not have the results of Dr. Hackett’s IQ

tests at the time, expressed surprise upon seeing those results. (Spellman Depo at

122:17-123:9.) Dr. Spellman also testified that Webster’s performance IQ score, a

49, was “very unusual.” Id. at 123:7-9. He further opined that Webster’s answers

to individual questions looked “awfully suspicious” because one would have to

“really be stupid or making a poor effort to get that low [a score] on some of these

[questions].” Id. at 123:2-5. Additionally, two trained psychologists who
                                              28
regularly interacted with Webster noticed no signs of intellectual disability during

their many conversations with him. (Blessinger Depo at 124:24-125:13); Hr. Tr.

883:18-889:22. Finally, Dr. Denney testified at length that Webster’s observed

abilities were wholly inconsistent with his IQ scores. Hr. Tr. 549:1-554:12. Thus,

Webster clearly shows “a marked discrepancy between [his] claimed stress or

disability and the objective findings and observations.” DSM-5 at 727.

       Because Webster’s testing occurred exclusively in a “medicolegal” context,

he was not prescribed a treatment regimen by the psychologists who evaluated

him. Thus, it is more difficult to evaluate the applicability of the third category—

lack of cooperation during the diagnostic evaluation and in complying with the

prescribed treatment regimen. See id. It is, nevertheless, noteworthy that Dr.

Hackett observed that “Webster manifests no signs of wanting to improve.” Ex.

102 at 52. This observation suggests that Webster had no desire to “comply with

[any] prescribed treatment regimen,” and could thereby trigger the third area of

concern. See DSM-5 at 727.

       The fourth malingering concern — the presence of antisocial personality

disorder — clearly applies. Webster has been repeatedly diagnosed with antisocial

personality disorder, even by his own experts. See, e.g., Ex. 101 at 48 (Dr.

Denney diagnosed Webster with antisocial personality disorder); Ex. 102 at 52

(Dr. Hackett diagnosed Webster with antisocial personality disorder); Ex. 103 at

55 (Dr. Spellman diagnosed Webster with antisocial personality disorder); Ex. 163
                                            29
at 2101 (Dr. Jeffrey Yates diagnosed Webster with antisocial personality

disorder); Hr. Tr. 481:3-8 (Dr. Fabian diagnosed Webster with antisocial

personality disorder).

       Webster, therefore, triggers at least three, and possibly all four, of the

malingering concerns listed in the DSM-5. See DSM-5 at 727; Hr. Tr. 533:15-22.

Accordingly, malingering “should be strongly suspected.” DSM-5 at 727; Hr. Tr.

533:23-534:1. Research backs this conclusion. The rate of malingered

neurocognitive dysfunction among pretrial criminal defendants is at least 54

percent, and potentially as high as 70 percent. Hr. Tr. 537:3-538:15. Accordingly,

even without specific, direct evidence of malingering, this Court should be

extremely suspicious that Webster feigned poor performance his IQ tests. And

Webster had clear incentives to do so.

                      b.     Webster had a motive to malinger on all of his tests

       The overwhelming majority of Webster’s IQ tests were conducted in the context

of this, or some other phase, of his death penalty litigation. His motive to malinger on

those tests is obvious: he wanted to present as intellectually disabled in order to avoid the

death penalty.

       Webster was also tested by the Social Security Administration, and he has argued

in previous phases of this litigation that those test results are particularly relevant because

he lacked a motive to malinger. But that claim is false. Webster was tested in order to

determine his eligibility for Social Security benefits, and therefore he had a strong
                                              30
financial motive to malinger. Indeed, research shows that about 50% of people seeking

Social Security benefits related to cognitive problems are feigning their symptoms. Ex.

101 at 43. And, while Webster argues that he only applied for benefits due to sinus

problems, his mother told Dr. Denney that she brought Webster to the Social Security

Administration because of his sinus problem and concerns that he may have issues with

his brain. Hr. Tr. 688:1-9. Webster clearly had a motive to feign intellectual disability

during his Social Security examinations. Accordingly, Webster not only triggers the

concerns listed in the DSM-5 for malingering, but had specific motives to do so during

his IQ testing.

                      c.     Experts, including Webster’s have been skeptical about
                             the validity of Webster’s IQ scores.

       Given all of the reasons to suspect that Webster was feigning his IQ test results, it

is no surprise that various experts had concerns about malingering. Webster’s own

experts, of course, found various reasons to reassure themselves that his scores were

legitimate, but their initial skepticism is nevertheless very telling. Independent evaluators

have also expressed concern about the validity of Webster’s test results. Indeed, it

appears that few people who evaluated Webster were without at least some doubts about

the legitimacy of his IQ test results.

        During trial, Webster’s expert Dr. Keyes testified that “I have to admit the first

time I tested Bruce Webster, I felt very concerned because this is not a person who comes




                                             31
off with an IQ of that area. I didn’t expect him to be functioning that low.” Hr. Tr.

332:23-334:3.

       Webster’s expert Dr. Reschly noted that Webster’s IQ test scores “might be

questionable,” and conceded that he and other experts were surprised by the IQ results: “I

think all of us had the impression that he might do better than he did [in any of the IQ

tests] because of how verbal he was.” Hr. Tr. 334:17-23.

       Dr. Hackett, who evaluated Webster for the Social Security Administration, noted

that Webster’s “IQ scores were not normal considering [his] history,” and opined that

“there may have been some malingering.” Ex. 102 at 50.

       Dr. Charles Spellman also evaluated Webster for the Social Security

Administration, and opined in 1993 that he saw no signs of malingering. But Dr.

Spellman did not give any Webster any validity tests. (Spellman Depo at 29:19-23.)

And, more recently, Dr. Spellman saw the results of Dr. Hackett’s IQ test for the first

time. Dr. Spellman was surprised by the results and testified that Webster’s performance

IQ score, a 49, was “very unusual.” (Spellman Depo at 123:7-9). He further noted that

Webster’s answers to individual questions looked “awfully suspicious” because one

would have to “really be stupid or making a poor effort to get that low [a score] on some

of these [questions].” Id. at 123:2-5. And, even after seeing the results of another IQ

tests whose composite score was close to that Webster produced for Dr. Hackett, Dr.

Spellman would not rule out malingering: “he could have been malingering both times.”

Id. at 128:16-20. Thus, of the two psychologists who evaluated Webster for the Social
                                             32
Security Administration, one suspected at the time that Webster was malingering, and

one later came to suspect malingering based on the specifics of Webster’s IQ test

answers. Given that Webster’s entire collateral attack rests on the Social Security records

produced in large part by these two psychologists, this fact is particularly damning for his

case.

        The skepticism of independent experts and experts retained by Webster is telling.

If even these experts suspect malingering, then it is certainly a significant concern. And

the validity testing shows that they were right to be skeptical. Indeed, that testing proves

that Webster was malingering.

                      d.     Validity tests show malingering

        Validity tests are used to measure “performance validity,” that is, whether an

individual is putting forth adequate effort during testing to “make the results meaningful

and valid.” Hr. Tr. 528:3-8. Validity tests can be freestanding, or can be derived from a

portion of the subject test. Hr. Tr. 528:3-529:22. In a forensic setting, such as the one in

which Webster has been tested, current standards of psychological practice require

validity testing. Hr. Tr. 530:8-9. This is so because “there is a significant incentive for

the individuals [in a forensic setting] not to perform in a valid manner for secondary

gain.” Hr. Tr. 530:11-13.

        Drs. Denney and Fabian both administered freestanding validity tests during their

evaluations of Webster. Hr. Tr. 530:24-531:4. Dr. Denney, who has conducted

significant research into validity testing, administered the Word Memory Test (WMT)
                                             33
and the Medical Symptom Validity Test (MSVT) to Webster. Hr. Tr. 534:2-13; 537:1-2;

554:21-24. Published research shows that the WMT functions well inside the prison

setting as a test of validity and that the MSVT is particularly good at distinguishing

genuine cognitive problems from feigned problems. Hr. Tr. 534:14-25; 535:1-536:1.

Research also shows that the WMT and the MSVT, used in combination, are very

“sensitive” to people who were feigning cognitive problems; that is, they “pick up

feigning when feigning is present.” Hr. Tr. 536:6-25. Dr. Denney also evaluated

Webster’s Reliable Digit Span (RDS) score, a form of validity test derived from other

testing. Hr. Tr. 554:2-11.

       Dr. Denney administered the WMT, a “verbal learning and retention task” that

tests the subject’s ability to learn, recognize, and remember word pairs. Hr. Tr. 557:6-

15. The initial section of the test is “very, very easy,” while later sections are

increasingly difficult. Id. Webster “failed” the WMT, in other words, his test results

indicated malingering. Hr. Tr. 560:17-22. Specifically, the test indicated that Webster

was malingering because he did better on more difficult sections than he did on easier

ones. Id. This pattern, known as an “order violation,” is not consistent with any genuine

cognitive impairment. Id.; Hr. Tr. 561:23-564:4. Moreover, Webster’s poor performance

on the easiest portions of the test were wholly inconsistent with his real world

functioning. Hr. Tr. 564:12-565:4. Dr. Denney also compared Webster’s results with

those from groups of people with genuine intellectual disabilities. Hr. Tr. 565:5-572:17.

Webster’s results differed substantially from those of people with genuine intellectual
                                              34
disabilities. Webster results on the WMT, therefore, showed malingering. Hr. Tr.

572:12-17.

        Dr. Denney also administered the MSVT. Hr. Tr. 572:18-20. Webster’s results on

the MSVT were “very similar” to his results on the WMT. Hr. Tr. 573:9-18. Webster

failed easy parts of the test, did better on harder sections than on easier ones, and

produced results that were not consistent with any group of genuinely intellectually

disabled people. Hr. Tr. 573:9-579:1. Accordingly, the MSVT also showed that Webster

was malingering. Id.

        Webster’s expert Dr. Fabian also administered a validity test, the non-verbal

MSVT (NV-MSVT). Hr. Tr. 638:22-640:19. Webster failed this test in the same way he

failed the validity tests administered by Dr. Denney. Id. He did poorly on easy sections,

did better on more difficult sections than on easy ones, and produced scores that were

inconsistent with any known population of intellectually disabled people. Id. And, while

Webster’s expert Dr. Fabian refused to concede that Webster was malingering, he did

admit that “Bruce Webster [has] had variable effort in his testing. . . suboptimal effort.”

Hr. Tr. 819:5-6.5. The results of three freestanding validity tests, then, show that

Webster was malingering.

        Webster also did poorly on validity tests that are embedded in, or derived from,

other tests he took. On Dr. Denney’s IQ test, Webster produced a RDS of 6, which “was


5 Dr. Fabian argued that Webster’s “suboptimal effort” might be the result of other psychological problems. Hr. Tr.
800:10-15. But even if the “suboptimal effort” were the result of psychological problems as opposed to intentional
malingering, Webster’s test results would underrepresent his true ability, and would be invalid.
                                                        35
an indication of invalid performance.” Ex. 101 at 32-33. Webster produced an RDS of 5

on an IQ test administered by Dr. Finn, which was lower than expected of genuinely

intellectually disabled individuals. Ex. 101 at 18. These scores also suggest malingering.

Hr. Tr. 555:2-6.

       The inconsistency of Webster’s test scores shows those scores were invalid.

Based on the context of his testing, there is ample reason to suspect that Webster

produced these inconsistent results because he was malingering. And the validity testing

provides strong, specific evidence that Webster was in fact malingering. Given the ease

with which one can feign disability on IQ testing, it is not surprising that Webster did so.

                     e.     Malingering is easy

       Research shows that malingering in IQ tests is “very easy,” and that when people

malinger, they typically produce a falsified score in the impaired range. Hr. Tr. 631:20-

23. Thus, it is no surprise that Webster was able to fabricate scores in the impaired range

on multiple IQ tests. Hr. Tr. 631:23-25. In one study, a group of college students with an

average IQ of 110 was asked to feign low IQs while taking an IQ test. Hr. Tr. 632:2-

633:18. A group of juvenile-justice inmates with an average IQ of 85 was also asked to

feign low IQs. Id. Though the two groups had significantly different genuine IQ scores,

both groups feigned IQ scores in the low 60s. Id. Feigning IQ scores in the mildly

impaired range, then, is very easy. Thus, while Webster’s experts appear to give great

weight to the fact that he produced a number of scores in the impaired range, doing so via

malingering is actually quite easy.
                                             36
              5.     Webster’s achievement test scores are a better reflection of his
                     intellectual functioning

       For the reasons discussed above, Webster’s IQ scores are invalid and cannot be

relied upon. Fortunately, there is evidence of Webster’s genuine intellectual functioning

that the Court can credit. Webster took a number of standardized tests of academic

achievement and intellectual ability outside the context of litigation. These tests are

inconsistent with a diagnosis of intellectual disability, and show that Webster was

functioning in the normal range of intellectual ability.

       While in school, Webster took the MAT 6, a national achievement test for

students, and scored in the 43rd percentile. Ex. 138 at 1146-47. He took the Army Beta

test, a group-administered IQ test, and scored 76. Hr. Tr. 343:17-21. Webster took a

Jobs Corps reading comprehension test, and scored 76 percent. Hr. Tr. 345:22-24. And

when he was transferred to USP Terre Haute, Webster took the Adult Basic Learning

Exam (ABLE) test, a standardized test given to students who enroll in GED preparation

courses. Ex. 171 at 2465; Hr. Tr. 974:2-23. Webster scored at the college level in

several subjects. Ex. 171 at 2465; Hr. Tr. 977:1-7.

       The results of these standardized tests are inconsistent with Webster’s IQ test

scores. Indeed, even Dr. Reschly testified that if Webster’s “scores [on the ABLE test]

are accurate, [those scores] would not be consistent overall with a diagnosis of

intellectual disability.” Hr. Tr. at 227:17-19. And Dr. Fabian agreed that Webster’s

scores on the MAT 6 and ABLE tests were “inconsistent with a finding of [intellectual

                                             37
disability].” Hr. Tr. 484:18-20. Given the significance of these test scores, it is

unsurprising that Webster’s experts attempt to discredit them. However, their argument

— that Webster cheated on these tests — is completely baseless and devoid of

evidentiary support.

       There is no evidence whatsoever that Webster cheated on any standardized

academic test. Webster himself has never claimed that he cheated on these tests. See Hr.

Tr. 346:22-23. Indeed, protocols were in place specifically to prevent cheating. See, e.g.,

Ex. 138 at 1146-50 (teachers monitored test-takers during the MAT 6); id. at 1150; (the

chances that Webster would have been able to cheat are “very, very slim.”); Hr. Tr.

975:24-976:5 (ABLE test-takers are given different versions of the test so they cannot

copy off one another); Hr. Tr. 979:18-24 (the ABLE test is supervised by prison staff).

And, finally, Webster did not have any incentive to cheat. There was no benefit to

Webster in performing well on a MAT 6 or ABLE test. See, e.g. Hr. Tr. 957:22-25

(noting that there are not any benefits that Webster can receive due to his highly-

restricted status as a death-row inmate). Accordingly, this Court should disregard any

argument or insinuation that Webster cheated on these tests.

       Webster’s standardized academic test scores are a better reflection of his

intellectual ability than the IQ test scores. The academic tests were not administered in

the course of litigation, or as a prerequisite to any kind of benefit. Webster, therefore,

had no motive to malinger (by producing an artificially low score) or cheat (by producing

an artificially high score). Webster’s only motive was to complete the test. Accordingly,
                                             38
these tests should be regarded as a more accurate reflection of Webster’s ability than any

of the IQ tests, which were the product of malingering.

       B.       Webster’s adaptive functioning is normal

       Even assuming Webster had a legitimately low IQ, that alone would not support a

diagnosis of intellectual disability. Intellectual disability is only diagnosed if an

individual has a sufficiently low IQ, and significant deficits in adaptive functioning. The

former does not preordain the latter. Some individuals with low IQs can learn adaptive

skills such that they do not meet the definition of intellectual disability. Hr. Tr. 526:20-

23. Thus, even if Webster could show that he had a low IQ—which he cannot—he

would still have to prove that he has significant deficits in adaptive functioning. He

cannot do so.

       The adaptive-functioning criterion is satisfied only when at least one of the three

domains of adaptive functioning (conceptual, social, or practical) is so impaired that the

subject needs “ongoing support” to “perform adequately” in real-life settings. DSM-5 at

38. Webster has not needed and does not need such support. He has been able to

“perform adequately” in all aspects of his life without “ongoing support” and pursue his

goals, evil though they may be, without special assistance.

       The adaptive functioning evidence that Webster offers suggests shortcomings, but

not significant deficits such that Webster needs “ongoing support” to “perform

adequately” in real-life settings. Id. And the evidence he offers is unreliable. Most of

Webster’s evidence comes from friends and family members, individuals who are highly
                                              39
biased and motivated to shape their accounts in order to spare Webster from execution.

Indeed, even Dr. Reschly conceded that statements from Webster’s family members have

to be evaluated “in consideration of their relationship with Mr. Webster.” Hr. Tr. 355:22-

356:2.

         In contrast, the government’s evidence of Webster’s abilities comes from sources

with no stake in the outcome of the proceeding, such as teachers and school

administrators. The government’s evidence also includes objective and undisputed facts,

such as Webster’s test scores, excellent hygiene, and ability to drive. And, importantly,

the government does not offer this evidence to demonstrate Webster’s “strengths” in an

effort to outweigh his weaknesses. Instead, evidence of Webster’s adaptive abilities

demonstrates that he does not have significant deficits in the relevant categories. By

showing that Webster performs normally in the conceptual, social, and practical domains,

the evidence demonstrates that he lacks significant deficits in those domains and cannot

meet the diagnostic criteria for intellectual disability.

                1.     Conceptual domain

         In intellectually disabled individuals, “abstract thinking, executive function, (i.e.,

planning, strategizing, priority setting, and cognitive flexibility), and short-term memory,

as well as functional use of academic skills . . . are impaired.” DSM-5 at 34. Dr.

Denney testified that, based on his expertise and testing of Webster, Webster did not have

significant deficits in the conceptual domain. Hr. Tr. 621:25-623:22. The evidence

supports his conclusion.
                                                40
                     a.      Academic performance

       Webster dropped out of school in the ninth grade. Ex. 162 at 2080. But before he

did so, his academic record was mixed. As a young first grader, who had not attended

kindergarten, he was held back a year. Id. at 2079. But when repeating the first grade,

Webster got almost all A’s and B’s. Id. He got mostly B’s in second grade, then a

mixture of A’s, B’s and C’s in third, fourth, and fifth grades. Id. In sixth grade, his

grades began to decline and he recorded C’s, D’s and a few F’s. Id. In seventh, eighth,

and ninth grades, Webster made mostly D’s and F’s. Id. at 2080. Webster then dropped

out of school. Id. E.C. Turner, the counselor at Webster’s school, testified that Webster

“did well” academically “until about the sixth grade.” Ex. 138 at 1148.

       Webster will, of course, argue that his poor grades in the later part of his academic

career are reflective of an intellectual disability. But this argument ignores the fact that

he did quite well in the earlier grades. The more logical explanation is that as he got

older, Webster simply lost interest in school and stopped trying. This explanation is

supported by a 1998 letter from Webster’s school counselor. Ex. 163. In the letter,

Webster’s counselor explains that Webster’s poor grades were largely the result of

“misbehavior and lack of effort according to his teachers.” Id. at 2092. The counselor

notes that Webster had been caught “sleeping in class on numerous occasions,” talking

excessively in class, playing his radio and disrupting class, and showing disrespect for

“teachers, administrators, bus drivers and other students.” Id. He further reported that

Webster had been suspended from school twice in the last semester, and had missed 17
                                              41
days of school. Id. at 2092-93; see also Ex. 164. Given these circumstances, even a

brilliant student could not achieve good grades. Webster simply chose not to participate

in school, and he received grades that reflected that choice. His achievement test scores

show that he could have passed his classes if he had tried.

       While in school, Webster took the MAT 6, a nationally-administered achievement

test. Ex. 138 at 1146-47. The test was administered over a four- to five-day period, and

teachers monitored the test-takers. Id. at 1149-50. Webster scored in the 43rd percentile,

which placed him in the low-average range nationally. Id. at 1147. But Webster’s score

“place[d] him with the average student at Watson Chapel.” Id. Based on his score,

Webster was “definitely not” a candidate for a special education program. Id. at 1148.

Webster, then, did not have any academic deficits. He merely chose not to apply himself

to academic pursuits.

       Webster’s scores on subsequent achievement tests further support the conclusion

that he had ability, but lacked motivation. When Webster was transferred to USP Terre

Haute, Webster took the Adult Basic Learning Exam (ABLE) test, a standardized test

given to students who enroll in GED preparation courses. Ex. 171 at 2465; Hr. Tr. 974:2-

23. Webster scored at the college level in two subjects: reading comprehension and

spelling. Ex. 171 at 2465. He scored 11.9, or at the ninth month of eleventh grade, in

vocabulary. Id. And he scored at the eighth-grade level in problem-solving, a score that

matches the last grade of school he completed. Id. Webster scored at the fifth grade

level in two subjects: language and number operations, but the director of education at
                                            42
USP Terre Haute testified that these subjects were “the two hardest parts” of the test, and

were “common low scores.” Id; Hr. Tr. 979:11-17. Overall, Webster’s scores were very

good, and qualified him for placement in either intermediate or advanced GED classes.

Hr. Tr. 979:2-10. Webster scores were so good, in fact, that even Dr. Reschly conceded

that his scores “would not be consistent overall with a diagnosis of intellectual

disability.” Hr. Tr. at 227:17-19. Webster clearly has the intellect to do well

academically.

       Indeed, Webster did well academically in prison, when he tried. His record in

USP Terre Haute shows a pattern of uneven effort, with Webster sometimes refusing to

participate in academics and other times taking courses. Ex. 171. But when he opted to

participate, he did quite well. Webster passed classes in Spanish and legal research. Ex.

171 at 2465. And he scored well on quizzes in GED-preparatory mathematics, getting

between 79 and 96 percent of the questions correct. Ex. 171 at 2458. Webster’s experts,

of course, argue that he could have cheated on these tests. But there is no evidence

whatsoever that he did so. Webster has not produced a single witness to testify that

Webster cheated on any academic test. Moreover, Webster had absolutely no incentive

to cheat. As a death-row inmate, he had nothing to gain by scoring well on GED-

preparatory quizzes or cheating on a Spanish test. There were no perks or benefits that

could be afforded him for academic success; he could not earn “good-time credit” for

doing well in his classes. Hr. Tr. 957:19-958:14. Because there is no evidence that

Webster cheated, and because he had no reason to do so, one can only conclude that his
                                             43
academic performance is genuine. And his performance, along with the other evidence

discussed above, demonstrates that Webster has no significant academic deficits.

                     b.     Special Education

       Evidence that Webster was in special education is thin at best. Webster relies

primarily on a single letter from his school stating only that “[t]he above student’s

Special Education records were destroyed in 1988.” Ex. 21 at 28. The letter, however,

offers no insight about the contents of the records, either in substance or in volume. The

records referenced in the letter could be a denial of an application to enter special-

education classes. Or, the records could contain the results of tests that were used to

determine Webster’s ineligibility for special education. Indeed, even Webster’s expert

Dr. Reschly conceded that the letter could have been referring to a record of Webster’s

rejection from the special education program. Hr. Tr. 322:4-8. It is even possible that the

letter is a form response sent to anyone seeking old records — whether such records

existed or not. Drawing any conclusions based on such a short, generic statement would

be improper. Instead, the Court should rely on substantive testimony from teachers,

administrators, and relatives about Webster’s educational history. That testimony shows

Webster was not in special education classes.

       Gene Stewart was the principal at Webster’s junior high school when Webster

attended. Ex. 133 at 1078. He was involved in decisions about which students would be

placed in special education classes. Id. at 1079. He testified at trial that Webster was not

in special education classes. Id. Moreover, Stewart testified that Webster did not meet
                                             44
the qualifications for assignment to special education classes. Id. Stewart also testified

that he had, in the course of his 25-year career in education, had the opportunity to work

with individuals who were mildly mentally retarded, he and did not believe that Webster

was. Id. at 1078-79.

       Richard McLaughlin, the assistant principal at Webster’s school, testified that no

teacher or other administrator ever suggested to him that Webster was mentally retarded,

or that he should be placed in a special education program. Ex. 134 at 1090.

McLaughlin did not believe that Webster was mentally impaired. Id.

       E.C. Turner, the counselor for Webster’s school, testified that based on Webster’s

scores on the standardized MAT 6 test, he would “definitely not” be a candidate for a

special education program. Ex. 138 at 1148. Turner was certain about this, and

emphasized that there was no question at all that, based on his test scores, Webster would

not have been in special education classes. Id.

       Luketha Frazier, Webster’s niece, is his age and lived with Webster when they

were children. Ex. 129 at 993-95. She and Webster were in the same grade at school,

and they had a class together. Id. at 995. Frazier testified on Webster’s behalf at trial,

but she admitted that, to her knowledge, Webster was not in special education classes.

Id. at 1003. And she testified that the class that she and Webster were in together was not

a special education class. Id. at 1002.

       Pat Drewett, Webster’s ninth grade civics teacher, testified that Webster was in her

class, which was not a special education class. Ex. 136 at 1122-23. She testified that
                                             45
Webster could read, and was a capable student, but he chose not to perform, and slept in

class often. Id. at 1123. Like Gene Stewart, she had worked with mildly mentally

retarded students in the past, and did not believe that Webster was mentally retarded. Id.

at 1124. If she had seen an indication that he had an intellectual disability, she would

have referred him to special education, but she did not do so because she did not believe

he had any intellectual disability. Id.

       Linda Monk, Webster’s ninth grade English teacher, testified that her class was a

basic class, but was not a special education class. Ex. 137 at 1131. She believed that

Webster was “one of the brighter ones” in her class, and “seemed rather mature for his

age,” but that “his grade did not reflect that.” Id. at 1131-32. Webster frequently slept in

class and “did not apply himself.” Id. at 1131-33. But Monk believed that he “certainly

was capable of [doing] the work” if he had been more motivated. Id. at 1132-33. Like

Stewart and Drewett, Monk had worked with mildly mentally retarded students. Id. at

1133. She did not believe that Webster was either mildly mentally retarded or even

borderline mentally retarded. Id.

                     c.      Literacy

       Webster is clearly literate. Leonda Daniels, one of Webster’s ex-girlfriends,

testified that he wrote letters to her. Ex. 130 at 1023. While his handwriting was bad,

she had no difficulty understanding the substance of his communications. Id; Tr.

23:103:1-3. She also testified that while Webster was lazy and made her fill out his job

applications, he was capable of reading and filling out the applications himself:
                                             46
“[Webster] could fill one out, but at the time I guess he wanted me to fill out the

application form . . . [Webster] can fill out an application, yeah . . . he can fill one out.”

Ex. 130 at 1023.

       Webster’s sister Dorothy Harris McKelvy testified that she received Christmas

cards and letters from Webster. Ex. 36 at 16-17. John Clay, an inmate who knew

Webster when he was in the Mansfield Jail, testified that Webster would handwrite letters

to him, and Webster used a code to conceal illicit plans. Ex. 141 at 1178-97. And Luther

Alexander, who was a guard at the Mansfield Jail, testified that Webster went to the law

library on a daily basis, read books, and took notes about the books he read. Ex. 144 at

1223-24.

       Dr. George Parker examined Webster prior to his trial and testified that Webster

was able to read stories aloud to Parker during the examination. Ex. 148 at 1282. Parker

also observed Webster address an envelope for him. Id. at 1283.

       During his incarceration at USP Terre Haute, Webster has written a number of

emails. Ex. 172. Webster’s emails are coherent, responsive to questions, on-topic,

socially-appropriate, and demonstrate a good vocabulary and understanding of grammar.

See Ex. 172 at 2475, 2478. Indeed, when Dr. Charles Spellman, one of the psychologists

who evaluated Webster for the Social Security Administration, read Webster’s emails, he

testified that “[p]eople who are mentally retarded are not able to express themselves this

well . . . this is just inconsistent with any intellectually disabled person I have ever dealt

with.” (Spellman Depo at 66:14-67:2). Moreover, Webster’s ability to communicate via
                                               47
email not only demonstrates his literacy, but also shows that he is proficient with a

computer.

       Given the importance of these emails, and the degree to which they demonstrate

Webster’s intellectual ability, it is unsurprising that Webster has objected to their

admission. Hr. Tr. 590:10-17. Webster claims, through his lawyers, that he did not write

the emails and that someone else must have written them for him, or at least assisted him

in doing so. Id. The argument itself is a significant form of concession — Webster

admits that the emails are so well written, and the process of drafting them so technically

demanding, that only someone who was not intellectually disabled could have created

them. Webster, the argument goes, must therefore not be the one who wrote the emails.

       But the evidence demonstrates that Webster did draft the emails. John Edwards, a

correctional counselor at USP Terre Haute who worked with Webster on a daily basis for

several years, explained the email system at the prison. Hr. Tr. 923:2-926:25. Webster

had access to an email system. Hr. Tr. 931:3-10. In order to access the system, he had to

enter a passcode that ensured that only he could access his email account. Id. There

were computers located only in a few locations, such as the law library, legal consult

area, and leisure room. Hr. Tr. 931:24-932:3. And the computers were restricted to

email; the computers could not be used to access the internet, play videogames, or do

anything else. Hr. Tr. 933:5-14. The computers could only send and receive emails. Id.

Accordingly, if an inmate was using one of these computers, he was necessarily sending

or receiving email.
                                             48
        Edwards testified that he saw Webster typing on the email computers “numerous

times.” Hr. Tr. 933:15-21. The majority of the times Edwards saw Webster using the

email computers, Webster was alone. Hr. Tr. 934:9-11. Webster often used the email

computer in the law library, and he was always by himself when he did so. Hr. Tr.

947:24-948:2.

      Edwards saw Webster, on numerous occasions, in the law library, by himself,

typing on a computer that could only be used to send and receive emails. The only

logical conclusion is that Webster wrote the emails on his own. Under these

circumstances, it would have been impossible for him to have help.

      Edwards also testified that he had received emails from Webster. Hr. Tr. 934:15-

21. Webster would email him requests for legal consultations, or complaints about prison

conditions. Id. Edwards testified that Webster’s emails were well written, with good

grammar, spelling, and punctuation. Hr. Tr. 935:13-19. Edwards never had any trouble

understanding the content of Webster’s emails. Id. Webster could have made his

requests verbally, but he chose to do so via email, showing that he was comfortable with

communicating in writing even when other options were available. Hr. Tr. 935:4-6.

      Interestingly, Webster may have been instructed to conceal his literacy. At one

point during his confinement in the Mansfield Jail, Webster made a complaint to Luther

Alexander, one of the guards. Ex. 144 at 1224-25. Alexander instructed him to fill out a

request slip as usual. Ex. 144 at 1225. But Webster “told [Alexander] that he couldn’t

fill out a request anymore because he was advised by his attorney not to.” Id. Of course,
                                           49
despite this attempt to conceal his literacy, evidence of Webster’s ability to read and

write is overwhelming.

                      d.     Executive functioning

       The DSM-5 emphasizes that in adults with even mild intellectual disabilities,

“executive function (i.e. planning, strategizing, priority setting, and cognitive flexibility) .

. . [is] impaired.” DSM-5 at 34. Webster, far from having an impairment in executive

function, has shown a superlative ability to plan, strategize, achieve goals, and respond

flexibly to new circumstances. Unfortunately for his victims, most of Webster’s schemes

have been criminal. But his ability to plan and carry out those schemes nevertheless

demonstrates his lack of impairment in executive function.

       While being detained in Mansfield jail prior to his trial, Webster concocted and

carried out a scheme to escape from the men’s section of the jail into the women’s area in

order to meet a female prisoner. Ex. 124 at 887-900; Ex. 125 at 904-912. In order to

accomplish his escape, Webster used a piece of wire to pick the locks on a food chute,

then slipped through the chute into the women’s area. Ex. 125 at 910-12. There was no

other way for inmates on the men’s side to access the women’s side of the jail. Id. But

Webster, ingenuously, figured out how to do so, and was caught only when a head count

came up short and a guard checking the cells found Webster missing. Ex. 124 at 893.

       Webster was eventually found in the women’s shower area. Ex. 124 at 894. An

initial search of Webster turned up nothing, but during a second search, guards found a

wire concealed in his pants. Id. After Webster’s escape, the Mansfield jail installed extra
                                              50
latches on the food chute to prevent further escapes. Ex. 124 at 897. Webster later told

Dr. Richard Coons that he had been able to escape to the women’s quarters undetected on

four or five occasions before he got caught. Ex. 149 at 1365. Webster’s clever escapes

show an ability to set a goal, plan, strategize, and adapt. Id.

       After murdering Lisa Rene, Webster burned the clothes, gloves, and rope used in

the crime. Ex. 110 at 3349-50. He also washed and cleaned out his car to remove any

evidence of Lisa Rene’s presence in the vehicle. Id. at 3349-50, 3353. His destruction of

evidence showed “foresight and thoughtfulness” that was “not consistent with substantive

conceptual deficits related to intellectual disability.” Hr. Tr. 599:1-5. Webster later

explained that he had murdered Lisa Rene because “she had seen them.” Id. at 3357.

While chilling and horrific, his explanation of his decision to kill Lisa Rene was

consistent with his plan to conceal evidence of the kidnapping and rape.

       Accordingly, Webster has repeatedly shown an ability to plan, strategize, and

adapt to changing circumstances. Most of his plans have had criminal ends, but his

schemes show good executive function despite their immoral aims.

                     e.      Short-term memory

       According to the DSM-5, individuals with mild intellectual disability often have

impairments in short-term memory. DSM-5 at 34. Webster has displayed no such

deficit. To the contrary, Webster has an excellent memory.

       After being arrested for this offense, Webster made a statement to police about his

crime. Ex. 110 at 3335-3351. In his statement, Webster recalled numerous specific
                                              51
details about the events of the preceding days. Webster remembered the motel name and

room number where he stayed when he arrived in Dallas to assist his friends with their

drug debt. Id. at 3338. He remembered that when he and his coconspirators met to plan

the crime, Orlando Hall was wearing “green and white Nike tennis shoes,” and that his

brother was wearing “cami bottoms and a gray-colored sweatshirt.” Id. at 3339. Webster

remembered not only the name of the motel where he held Lisa Rene, but the number of

the room he rented. Id. at 3344. He remember how much he paid for the room. Id. He

remembered that while Lisa Rene was being held in Room 513, he saw another woman

who he knew, and he remembered the number of the room that woman was staying in.

Id. at 3345. He remembered the room number of a friend of his who was also staying at

the motel, and helped him jump start his car. Id. at 3346-47. Webster remembered the

name of the motel and number of the room his coconspirators moved Lisa Rene to on the

second day of her captivity in Pine Bluff. Id. at 3347. Webster remembered the number

of the motel room where they stored the gasoline he poured over Lisa Rene’s body. Id. at

3348. He remembered the make, model, and colors of cars that he saw during the

offense. Id. at 3348-49. He remembered the color of Lisa Rene’s clothes. Id. He

remembered the cross-streets of the location where he went to burn evidence, and the

name of the street where he found a car wash to wash his car following the crime. Id. at

3349-50. He remembered how much money Marvin Holloway gave him to pay for the

motel room. Id. at 3350.


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       And, critically, Webster remembered exactly where he buried Lisa Rene. Id. at

3326-27. He was able to do so despite the fact that the grave was in an extremely

isolated area, and was so well concealed that “you could not look at the ground and know

that a grave was there.” Id. at 3327. The grave was so difficult to find, in fact, that after

he confessed, coconspirator Beckley was unable to locate it when he tried to lead

investigators to the body. Ex. 113 at 566. Beckley “tried all day” to find the grave for

the police, but he could not find it. Id. Only Webster was able to remember where it was

and take investigators to the grave.

       Webster has no deficits in memory. His memory is excellent.

              2. Social domain

       Individuals with mild intellectual disability are often “immature in social

interactions,” due to “difficulties perceiving peers’ social cues.” DSM-5 at 34.

Communication, conversation, and language are more “concrete” and “immature” than

that of peers. Id. Individuals with mild intellectual disability have “difficulties

regulating emotion and behavior,” and these difficulties “are noticed by peers in social

situations.” Id. Individuals with deficits in this domain have “limited understanding of

risk in social situations,” and are likely to be gullible and “at risk of being manipulated by

others.” Id. Deficits in this domain may be evident even to lay people. DSM-5 at 34.

       Dr. Denney testified that during his evaluation of Webster, Webster “demonstrated

a level of communication, conversation and language that [was] not consistent with [the


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DSM-5 description of impairment in the social domain].” Hr. Tr. 624:16-18. The

evidence supports Dr. Denney’s impressions.

                     a.      Webster is a good conversationalist

       People with deficits in the social domain may have difficulties with

communication and language. DSM-5 at 37. “communication, conversation, and

language” may be immature and “there may be difficulty in accurately perceiving peers’

social cues.” Id. at 34. Webster, however, has no trouble with communication, language,

or conversation. To the contrary, numerous witnesses have commented on Webster’s

skills as a conversationalist. And while his experts contend that there is nothing

noteworthy about this fact, the DSM-5 specifically comments that individuals with

intellectual disability often have deficits in this area that can be observed by lay people.

DSM-5 at 34. But people who interact regularly with Webster have noticed no such

impairment. To the contrary, even trained psychologists regard Webster as an excellent

conversationalist.

       Dr. Denney conducted a three-hour clinical interview with Webster, and he

continued to talk with Webster over the course of a two-day evaluation. Hr. Tr. 551:13-

552:1. He observed that Webster’s “speed of mental processing was quick,” and that

“[Webster] was articulate. He was able to carry on rapid conversation with me and at the

same time also provid[e] witty comments about what [was] going on around us as we

[were] interacting.” Hr. Tr. 549:2-9.


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       Dr. Jacqueline Blessinger, a staff psychologist who saw Webster on a monthly

basis in USP Terre Haute, also noted that Webster was good at conversation. He was

“easygoing, polite, friendly [and] definitely enjoy[ed] holding [Dr. Blessinger] at the door

for a little bit and chatting.” Id. at 86. In his conversations, Webster was “appropriate,”

“polite,” and “show[ed] good use of humor.” Id. at 87. In one monthly meeting, Webster

had a legitimate complaint, and he was able to “to express frustration appropriately and

understandably so, but then … engage in a conversation, understanding the other person’s

perspective, come to a mutual understanding, and then sort of resolve his concerns by the

end of the conversation and no longer be frustrated.” Id. His ability to resolve issues

through conversation was in stark contrast to other inmates. Id. at 80. Webster’s

conversational ability was, in Dr. Blessinger’s opinion, “really great,” and “something I

don’t always see.” Id. Webster was also able to “appropriately and adequately describe

his feelings,” which is “often one of the areas that is most difficult for an individual with

even mild intellectual disability.” Id. at 100. And Webster was “articulate” with a

“larger vocabulary” than normal. Id. at 100-01.

       Dr. Erin Conner, a licensed psychologist working at USP Terre Haute, conversed

with Webster on a monthly basis for several years. Hr. Tr. 848:16-860:13. She observed

that Webster is “able to carry on conversation very well. He articulates himself well . . .

his vocabulary is very good. He doesn’t seem to struggle to find words and . . . uses

appropriate words in an articulate manner.” Hr. Tr. 885:5-14. Like Dr. Blessinger, Dr.

Conner also noted that Webster was able to “manage his emotions appropriately” in
                                             55
stressful situations, such as after the death of his father and the illness of another relative.

Hr. Tr. 874:10-21; 877:13-16.

       E.C. Turner, the counselor at Webster’s junior high school, testified that he and

Webster conversed on a number of occasions, and that Webster never had any problems

communicating with him. Ex. 138 at 1145. Turner had worked with intellectually

disabled students before, and he had training in the detection of intellectual disability. Id.

In his conversations with Webster, he saw “no indications of [intellectual disability]

whatsoever.” Id.

       One of Webster’s ex-girlfriends, Sylvia Henry, testified that Webster had no

trouble articulating his thoughts or telling stories. Ex. 121 at 848. And Leonda Daniels,

another of Webster’s ex-girlfriends, testified that Webster never had any difficulty

communicating with her. Ex. 130 at 1020.

       It is clear, then, that Webster had no trouble expressing himself verbally and was

able to engage in productive conversations without difficulty. Despite verbal

communication being a particular area of difficulty for intellectually disabled people,

Webster has no deficits in this area.

                      b.     Webster can regulate his emotions and behavior

       The DSM-5 notes that individuals with intellectual disability “may have

“difficulties in regulating emotion and behavior in age-appropriate fashion; these

difficulties are noticed by peers in social situations.” Id. (emphasis added). It is critical

to note, as the DSM-5 does, that deficits in this domain are not only detectible by trained
                                               56
professionals. Thus, if Webster suffered such deficits, people with no psychological

training would be able to notice. But Webster suffered no such deficits. Indeed, even

trained professionals saw nothing amiss.

       Dr. Blessinger, who has extensive experience and training relating to intellectual

disability, talked at length about Webster’s ability to regulate his emotions and behavior.

She testified that “emotional processing is very difficult for an individual with an

intellectual disability.” (Blessinger Depo at 106.) She explained that when she worked

with intellectually-disabled people at Mount Sinai Hospital, she would have to provide

structure and themes to conversations to help these patients work through their emotions.

Id. Webster, according to Dr. Blessinger, needed no such assistance, and was the

“antithesis” of her intellectually disabled patients. Id. Whether it was discussions about

the hardships of prison, or the death of his uncle, Webster “was able to process his

thoughts and feelings without [Dr. Blessinger] providing that structure for the process to

happen.” Id. And when Dr. Blessinger missed a meeting with Webster one month, he

was later able to express his frustration appropriately, understand her perspective, and

share a story about a niece he had who was a psychologist. Id. at 78. Webster’s ability to

manage his emotions appropriately demonstrated the “sort of cerebral thinking that

requires higher order processing, and that is certainly challenging for an individual who

has an intellectual disability to do without prompting.” Id. at 106-07. Dr. Conner agreed

that Webster was able to “manage his emotions appropriately” in


                                             57
stressful situations, such as after the death of his father and the illness of another relative.

Hr. Tr. 874:10-21; 877:13-16; 880:1-15.

       Dr. Blessinger also noted that Webster was able to “reciprocate humor,” which is

something that is difficult for intellectually disabled people to do. (Blessinger Depo at

112.) “Humor is one of those things . . . that is often difficult for individuals to pick up

on, you know, just the nuances in someone’s tone in which they deliver [a joke],

[Webster] seemed to get that really well.” Id. at 112-13. And not only was Webster able

to understand and appreciate other people’s jokes, “he was able to reciprocate similarly.”

Id. Indeed, Dr. Blessinger made a point of recording the fact that “[Webster]

reciprocated or demonstrated the use of humor” in her notes because the use of humor

shows that he was “able to understand nuances in tone and other social pragmatics.” Id.

       Webster’s ability to regulate his emotions and understand humor demonstrate a

lack of deficits in what is typically a weak area for people with intellectual disability.

                      c.     Webster is manipulative and a leader

       The DSM-5 notes that individuals with intellectual disabilities are often gullible,

and can be easily manipulated by others. DSM-5 at 34. Indeed, the AAIDD ranks

gullibility as “a cardinal feature of [intellectual disability].” AAIDD-11 at 160. But

Webster is neither gullible nor an easily-manipulated victim. Instead, he is a

manipulator, a leader, and a predator.




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       The question of Webster’s gullibility was actually specifically resolved at trial.

Each of his trial jurors were asked to determine individually, by a preponderance of the

evidence, whether Webster was “unduly susceptible to influence by others.” Tr.

27:21:17-18. The jurors had heard from experts, family members, teachers, and friends

of Webster’s. And not a single juror believed that Webster was “unduly susceptible to

influence by others.” Tr. 27:102:19-20.

       The evidence amassed during various stages of litigation supports the jury’s

conclusion that Webster is not gullible or easily manipulated. Instead, it is quite clear

that Webster is the manipulator. Dr. Hackett, who examined Webster for the Social

Security Administration, observed that Webster is “a con man,” “a predator,” and “a user

of others” who “would take advantage of other people.” Ex 102 at 50, 52. And while the

AAIDD states that intellectually-disabled people are “overly trusting,” and particularly

likely to yield to the instructions of people “in a position of power,” Webster was hardly

a compliant subject during his examination. AAIDD-11 at 161. Instead, while being

examined by Dr. Hackett, Webster tried to take advantage of the authority figure by

asking the doctor to give him money. Ex. 102 at 51. Webster was “somewhat cocky

from the start,” and eventually made “personal comments” to Dr. Hackett toward the end

of their encounter. Webster’s behavior does not square with the AAIDD description of

intellectually disabled people being gullible (“a cardinal feature of ID”) or complaint

toward authority figures. AAIDD-11 at 160-61.


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       Webster also attempted to turn circumstances to his advantage in meetings with

other psychologists. Dr. Richard Coons testified at trial that, during his examination of

Webster, Webster gratuitously brought up a story about how he had to cheat to pass a

driver’s license test. Ex. 149 at 1357-58. Webster’s story was not in response to any

question, but was “offered out of the blue.” Ex. 149 at 1357. Dr. Coons found it “very

unusual that someone would spontaneously bring up that they had cheated on – had to

cheat on their driver’s license test.” Ex. 149 at 1358. In Dr. Coons’s opinion, Webster’s

gratuitous story “represent[ed] an attempt to manipulate [him] about [Webster’s] mental

abilities.” Id.

       Health care providers also indicated in the Southeast Arkansas records that

Webster was manipulative. Ex. 34 at 4315. And even defense expert Dr. Robert

Fulbright admitted that Webster “could be manipulative at times.” Id.

       Correctional Officer Ricardo Saenz, Jr. testified at trial that while Webster was

incarcerated at the Mansfield jail, he tricked the guards into coming to his cell by faking a

seizure. Ex. 146 at 1239. When the guards responded, Webster laughed and explained

that he just wanted to draw them to his cell so he could have someone to talk with. Id.

       And Webster was more than a manipulative con man. He was a leader. Webster’s

supervisor at a summer jobs program, Marcus Hollien, testified that Webster worked for

him for six weeks, and that Webster was a leader that the other participants followed. Ex.

139 at 1160. The school counselor at Watson Chapel Junior High School, E.C. Turner,

testified that he had conversed with Webster on a number of occasions, and found
                                             60
Webster to be “an independent thinker,” who was “more of a leader than he would have

been a follower.” Ex. 138 at 1144-45, 1148. And Pat Drewett, one of Webster’s ninth

grade teachers, described him as “more of a leader” than a follower. Ex. 136 at 1127.

       Webster also played a leadership role in the kidnapping and murder of Lisa Rene.

The conspirators surveilled the apartment where Lisa Rene lived for some time, but it

was Webster who finally decided to act, telling the others “[i]f we’re going to do this,

let’s do it now.” Ex. 112 at 388. And he ordered his coconspirators to leave the car

running because it had had engine trouble earlier. Id. When they could not break down

the front door, it was Webster’s idea to go around to the sliding glass door and break in

through it. Id. at 392. And when they entered, Webster took charge, grabbed Lisa Rene,

and dragged her to the car. Id. at 399-402. After he and the others kidnapped Lisa Rene,

it was Webster who took charge of interrogating her about the money missing from the

drug deal with her brothers. Id. at 403; Ex. 113 at 514.

       While he and his coconspirators were transporting Lisa Rene in their car, Webster

yelled at Beckley for making a wrong turn, and told him to stop acting nervous about the

crime. Ex. 113 at 519. Later, Webster threated to kill Beckley if he did not stop “acting

all scared.” Id. at 522. Webster also ordered Beckely to “just do the speed limit and

watch the road,” while Webster raped Rene in the backseat. Id. at 527. After they

arrived in Pine Bluff and Webster rented a motel, Webster told Beckley to “walk Lisa

around to the room like she was [his] girlfriend,” and to “just casually walk her into the

room.” Id. at 531.
                                             61
       Once the men had Lisa Rene confined in the motel room, Webster left to buy food.

Id. at 531. He took Beckley’s car, but before leaving, he ordered the men to “make Lisa

take a shower,” and told them that “he was going to bring back a small comb to comb out

her pubic hair.” Id. at 532. The men did as they were instructed. Id. And after Webster

took Lisa Rene outside, he ordered Demetrius Hall to clean the room. Ex. 112 at 334-35.

       These actions show that Webster held a leadership role within the group, and that

the other coconspirators deferred to him. They also show foresight, planning, and

strategy, as Webster told the others to take steps to avoid being caught and to destroy

evidence that could link them to the crime.

                     d.     Webster formed mature social relationships

       The DSM-5 explains that individuals with intellectual disability are “immature in

social interactions.” DSM-5 at 34. And the AAIDD explains that individuals with mild

intellectual disability have “[r]educed ability to form and sustain mutually beneficial

friendships.” AAIDD-11 at 154. But Webster had no such difficulties. Webster formed

strong friendships and had several romantic partnerships prior to his incarceration.

       Webster had friends who trusted and relied upon him. In school, Webster was

“very liked by the [other] students,” and “got along with them well.” Ex. 129 at 995.

Unfortunately, after he dropped out of school, he turned to criminal endeavors. But even

in these endeavors, Webster had friends who trusted and relied upon him. For instance,

after Webster’s friends lost money in a drug deal, Orlando Hall called Webster and asked

him to fly from Arkansas to help because “[Webster] knew how to handle things like
                                              62
[that].” Ex. 112 at 283. The fact that Hall would not only ask Webster for assistance, but

fly him in from another state and rely upon him to fix the problem shows that people

close to Webster trusted him and counted on him to make important decisions.

       Webster formed romantic relationships with several women. Sylvia Henry met

Webster in a club, began dating him, and eventually invited him to live with her. Ex. 121

at 807-08. Henry described their relationship as a “normal one” and said she was

attracted to Webster because he “seemed normal,” and was “a nice guy, [who was] fun to

be around.” Ex. 121 at 845-46. She and Webster did “normal things that couples do,”

and she considered Webster “a smart person intellectually.” Id. at 845. She and Webster

had a child together. Ex. 121 at 819.

       Webster also dated Gwen Alexander for several years and had a child with her.

Ex. 130 at 1016; Hr. Tr. 367:17-368:1. She and Webster lived together for a period of

time, and Alexander continued her romantic relationship with Webster even after he went

to prison. Id. The fact that Webster was able to convince a woman to continue dating

him even after he was incarcerated shows that he had very good social skills.

       Webster also dated Leonda Daniels from 1989 to 1992. Ex. 130 at 1013. Daniels

met Webster through his sister, and she described Webster as “nice and sweet” and said

that “he was there for me.” Ex. 130 at 1014. Daniels testified that Webster made her

laugh, and that even after his kidnapping conviction, she still cared about him. Id. at

1014-15. It is clear that Webster had the social skills to form a strong romantic

relationship with Daniels, one so strong that she continued to stand by him even after his
                                             63
conviction for a heinous crime. Or, more cynically, one could argue that Webster was

able to emotionally manipulate Daniels into seeing past his extreme character flaws.

Either way, Webster’s social skills greatly exceed those of someone who was

intellectually disabled.

       Webster also formed and maintained positive social relationships with prison staff.

For instance, on one occasion when Dr. Conner stopped by to visit him, he waived her

away without engaging in conversation. Hr. Tr. 880:17-881:14. Dr. Conner was visiting

with an intern, and she had not seen Webster for at least a year. Id. Several days later,

Webster approached Dr. Conner in a recreation room to apologize for his behavior. Hr.

Tr. 881:15-882:17. He told her “I didn’t realize that was you at my door the other day or

else I would have talked a little bit longer. I wasn’t trying to be rude, but I didn’t realize

that you was there.” Id. After apologizing for his inadvertently rude behavior, Webster

had a conversation with Dr. Conner. Id. This incident shows that Webster is socially

adept and able to recognize when his behavior — even unintentionally — might be rude

or socially inappropriate. Id. He was also able not only to recall the potential social

mistake, but address his actions with a timely and appropriate apology, and maintain a

positive social relationship by doing so. These are hardly the actions of someone with

severe social deficits.

              3.      Practical domain

       The practical domain involves “learning and self-management across life

settings,” including the ability to perform day-to-day tasks such as “personal care, job
                                              64
responsibilities, money management, [and] recreation.” DSM-5 at 37. Dr. Denney

testified that Webster does not have the deficits in the practical domain described in the

DSM-5. Hr. Tr. 624:25-626:6. He further explained that, to the extent that Webster has

made bad decisions in his life, his behavior is the result of a maladaptive personality

disorder, and not the result of an intellectual disability. Hr. Tr. 625:22-626:6. The

evidence supports this conclusion.

                     a.     Hygiene and daily living

       The practical domain involves includes “personal care” and daily living skills.

DSM-5 at 37. Webster has no deficit here. Webster is able to maintain consistently good

hygiene and has no trouble with fundamental daily tasks. Even Dr. Reschly conceded

that Webster “certainly mastered the basic fundamental daily living skills of eating,

toileting, dressing, [and] things of that nature.” Hr. Tr. 279:11-13. In fact, Webster went

beyond mere competence and took great pride in his personal appearance, always

presenting himself as “carefully groomed” and well dressed. Hr. Tr. 279:22-280:16.

       Other witnesses corroborate Dr. Reschly’s observations. Richard McLaughlin, the

assistant principal at Webster’s junior high school, testified that Webster was always

“very nicely dressed,” and “always seemed to take pride in his appearance.” Ex. 134 at

1087-88.

       John Edwards, a correctional counselor at USP Terre Haute, observed that

Webster was “very clean,” and “squared away.” Hr. Tr. 936:4-6. Everything in his cell

was put away, his clothes were folded, and his living space was “very clean.” Hr. Tr.
                                             65
936:8-10. Webster was one of the cleanest inmates in the facility. Hr. Tr. 936:13-18.

       Dr. Blessinger, a psychologist at USP Terre Haute, noted that Webster “was

always groomed appropriately,” and his “cell [was] kept orderly.” (Blessinger Depo at

103.) Dr. Conner, another psychologist at USP Terre Haute, observed that Webster was

“very well put together. His hygiene is definitely not a concern.” Hr. Tr. 869:10-11.

       It is clear, then, that Webster has no deficit when it comes to hygiene, cleanliness,

or personal care.

                     b.     Recreational skills

       Recreational skills are an aspect of the practical domain in which individual with

intellectual disability may have difficulties. DSM-5 at 34, 37. Webster, however, has no

such deficit. To the contrary, he excels as a musician. As a youth, he played drums in

his church choir. Ex. 129 at 998. Webster was “[p]retty smooth on the drums and

singing,” according to his brother Tony. Ex. 127 at 967. Later, Webster was hired to

play drums at gospel concerts. Ex. 101 at 7. Webster also taught himself to play guitar

while in prison. (Blessinger Depo at 108); Hr. Tr. 878:4-11.

       Dr. Blessinger saw Webster playing guitar in his cell on two separate occasions.

(Blessinger Depo at 108.) She observed that his ability to play guitar demonstrated not

only good recreational skills, but “fine motor processing . . . that has to go along with the

cognitive process.” Id. at 107. Dr. Blessinger also saw Webster apparently reading

music. She testified that while he was playing guitar, Webster “had a music book out and

was following along with that.” Id. She believed that Webster was reading music: “one
                                             66
would imagine that if you have a music book out as you’re playing an instrument that you

are reading that music.” Id. Webster’s musical ability, therefore, is quite advanced.

       In addition to his musical talents, Webster also played basketball with his brothers,

along with ordinary childhood games like hide-and seek. Hr. Tr. 398:21-24. It is clear,

then, that when it comes to recreational skills, Webster has no deficits.

                      c.     Ability to travel

       The DSM-5 notes that individuals with mild intellectual disability often need

support with transportation. DSM-5 at 34. Webster does not.

       In 1992, Webster passed his driver’s license test. Ex. 132 at 1068. And, while

Webster claims that he cheated on the test, his claims are implausible. The administrator

of the test, Charles McLemore, testified at trial that the test consisted of two parts; there

were 25 questions on the first part and 10 on the second. Id. at 1069. The licensing

office had three different versions of the test, so an individual wanting to cheat would

need to memorize the answers to 105 questions. Id. Webster took the test in a small

room, and McLemore watched him to ensure that he was not cheating. Id. at 1070. As

an additional precaution, people taking the test were separated so they could not see one

another’s answers. Id. at 1071. And Webster was only allowed to have a pencil while

taking the test; even extraneous clothing like hats was prohibited. Id. at 1070.

       Webster scored 96% correct on the first portion of the test, and got 70% correct on

the second portion. Id. at 1070-71. He only missed four questions on the entire test. Id.

And, after passing the written portion of the test, Webster successfully passed a road test.
                                              67
Id. at 1072-73. In order to do so, he had to drive a car with an examiner in the

passenger’s seat and demonstrate knowledge of traffic laws and the ability to operate a

car safely. Id. at 1073. His ability to pass this test demonstrates skills in a number of

domains, as does his ability to drive.

       Webster’s ability to drive is undisputed. Dr. Hackett noted that “Webster drove

himself to the [Social Security] evaluation.” Ex. 102 at 51. Dr. Reschly conceded that

Webster could and did drive in everyday situations. Hr. Tr. 245:5-10. And, of course, it

is well-established that Webster drove Lisa Rene to the park where he murdered her. Ex.

113 at 543. It is clear, then, that Webster had no difficulties when it came to driving.

       Webster argues that he had difficulties with airline travel, citing the fact that

Marvin Holloway purchased his airline ticket to fly from Arkansas to Texas. See, Ex.

116 at 731. But the AAIDD-11 cautions that “[a] person whose opportunities to learn

adaptive skills has been restricted in comparison to same-age peers may have acquisition

deficits unrelated to ID [intellectual disability].” AAIDD-11 at 52. Given Webster’s

underprivileged background, it is unlikely that he ever had opportunities to travel by air,

much less purchase his own airline tickets. Indeed, because most of his life since age 15

was spent in prison, he would have been physically unable to do so even if he had the

means. It is unsurprising, then, that Webster might have need assistance navigating the

byzantine process of purchasing an airline ticket and flying – especially in a pre-internet

era when user-friendly travel applications were unavailable. Thus, Holloway’s assistance


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is not evidence of any intellectual failing on Webster’s part. It is merely evidence that, at

most, Webster lacked certain opportunities due to his background. Webster’s ability to

travel, therefore is normal. He has no deficit in this area.

                     d.      Ability to handle money

       Intellectually disabled individuals often struggle with money management, and

need support to handle money. DSM-5 at 34. Webster, however, has no impairment in

this area.

       Indeed, even defense psychologist Denis Keyes conceded during his trial

testimony that Webster “has an understanding of money on a reasonably good level.” Ex.

32 at 4260. And Dr. Reschly gave Webster full credit during a test of his ability to count

money. Hr. Tr. 364:9-18. More specifically, Webster was given an “array of coins” and

was able to correctly select coins that added up to a specified amount of money. Id.

Webster’s ex-girlfriend, Sylvia Henry, also agreed that Webster had no problems

counting his money, and testified that he would sometimes help her with her bills. Ex.

121 at 819.

       While in jail awaiting trial, Webster managed his commissary account carefully

and precisely. Debra Harrison, a correctional officer at the jail, testified that on one

occasion Webster complained to her that the commissary had incorrectly calculated his

balance. Ex. 145 at 1233. Harrison looked into his complaint and determined that

Webster was right, and the commissary was wrong. Id. Another officer, B.J. Valdez,

testified that Webster approached him to complain that the commissary had overcharged
                                              69
him for an item. Ex. 143 at 1219-20. Webster asked Valdez to talk to the commissary

officer, and Valdez determined that the commissary officer had made a mistake. Id.

       Webster also displayed an ability to manage money in day-to-day affairs during

the offense. Before kidnapping Lisa Rene, Webster and his coconspirators went to a gas

station. Ex. 110 at 3339. While Orlando Hall got gas, Webster went into the

convenience store and bought beer. Id. After he and his coconspirators kidnapped Lisa

Rene, they drove to Pine Bluff, Arkansas. Ex. 110 at 3342-44. When they arrived, it was

Webster who went into the Pine Bluff Inn and rented a room. Id. at 3344. He paid for

the room, filed out the registration card, and supplied a false address because he realized

that the motel would not check to verify that the address was real. Id. After the

coconspirators put Lisa Rene in the motel room, Webster left on his own to buy food for

the group. Id. at 3345.

       It is clear, then, that Webster is able to manage money well inside and outside of

the prison setting.

                      e.    Ability to perform jobs

       Intellectually disabled people may have difficulties with the responsibilities of

jobs. DSM-5 at 37. But when evaluating a subject’s capacity to perform job-related

tasks, the DSM-5 cautions that one must be aware of “education, motivation . . . [and]

vocational opportunities.” Id. These factors are particularly relevant in Webster’s case.

       As Dr. Hackett noted in his report to the Social Security Administration, Webster

showed no signs of wanting to seek employment. Ex. 102 at 52. And Webster’s formal
                                             70
employment history is also severely limited by the fact that he has spent most of his life

in jail or prison. It is further limited by the fact that, when not in custody, Webster chose

primarily to pursue criminal endeavors. Nevertheless, on those occasions when he chose

to work, Webster demonstrated that he could perform the expected tasks without support.

        In 1992, Webster participated in a summer program known as CETA in which a

small group of students did work cleaning up neighborhoods for six weeks. Ex. 139 at

1158-59. His supervisor, Marcus Hollien, testified at trial that Webster needed to work

on his “self-discipline,” but was a “very intelligent individual with good characteristics.”

Ex. 139 at 1161. Hollien had no problems communicating with Webster. Ex. 139 at

1159.

        Webster also found work using his musical talents. He and his brother were hired

to play at churches and gospel concerts. Ex. 101 at 7. Webster played drums and his

brother played the keyboard. Id. He got jobs playing drums from his teens until his

arrest in his 20’s. Id. Webster said “the money [from playing drums] was decent, but not

the kind of money like I was getting from drugs, that’s for sure.” Id.

        While incarcerated at USP Terre Haute, Webster held a job as an orderly. Hr. Tr.

936:19-21. Webster, in fact, was given a role as an “out orderly,” which gave him access

to the entire unit. Hr. Tr. 936:24-937:15. The “out-orderly” job was the most trusted,

and sought-after position an inmate in the Special Confinement Unit (SCU) could obtain.

Id. Webster was “very good” at his job. Hr. Tr. 938:8-9. Webster cleaned, mopped and

swept the unit, and he prepared food trays for the other inmates. Hr. Tr. 938:11-13.
                                             71
Webster never had trouble following instructions, never needed additional instructions or

clarification to understand his tasks, and never misunderstood his instructions. Hr. Tr.

938:21-939:3. And Webster’s job involved arithmetic and reading. In order to prepare

food trays, Webster would have to consult a written list that indicated which inmates

needed special diets due to religious obligations or allergy concerns. Hr. Tr. 939:4-940:2.

Webster had to then select food from a cart and assemble each inmate’s tray according to

his individualized dietary requirements. Id. Webster did this job “very well,” and was

“self-sufficient,” never requiring help or additional instructions. Hr. Tr. 940:12-22.

       Webster’s brother Tony testified that Webster could have gotten an “honest” job

like Tony had, “if he wanted to.” Ex. 127 at 965. And Webster’s brother Mark agreed

that Webster could have held “a regular job.” Ex. 126 at 943. But Webster chose instead

to pursue criminal endeavors. He was, nevertheless, successful in those endeavors.

Webster made enough money selling drugs that he was able to help his girlfriend, Sylvia

Henry, pay her bills. Ex. 121 at 809, 819. Webster sold a pound of marijuana a week for

Orlando Hall. Ex. 110 at 3336. Webster paid Hall $1,100 upfront for the marijuana, and

would keep the cash profits, plus some of the marijuana for personal use. Id. And

Webster apparently had no problems running his business. As the facts of his offense

indicate, drug deals gone wrong can lead to violence. Thus, Webster had to consistently

handle money well or face potentially severe consequence from underpaid suppliers, or

overcharged customers. It is very telling, then, that Orlando Hall not only employed

Webster in the drug trade, but trusted him enough to transport him to Texas to assist
                                             72
when a deal went bad. Ex. 112 at 283. Had Webster not been able to manage his drug

business successfully, Hall would certainly not have trusted him in such a high-stakes

operation.

       Webster has primarily pursued illicit endeavors. But there is no evidence that he

had any difficulty performing any of the jobs he chose to do.

       C.     Webster’s apparent deficits are not related to intellectual functioning

       “To meet diagnostic criteria for intellectual disability [any] deficits in adaptive

functioning must be directly related to the intellectual impairments described [in the

intellectual functioning criteria].” DSM-5 at 38. But the deficits that Webster alleges

stem from causes other than any deficit in intellectual functioning. They do not,

therefore, meet the diagnostic criteria for intellectual disability.

       For instance, Dr. Reschly testified that Webster’s repeated violations of the law

demonstrated an adaptive deficit in the social domain. Hr. Tr. 375:23-376:3. But there is

no evidence that Webster’s pattern of criminal behavior resulted from a deficit in

intellectual functioning. To the contrary, Webster suffers from antisocial personality

disorder. See, e.g. Ex. 101 at 48 (Dr. Denney diagnosed Webster with antisocial

personality disorder); Ex. 102 at 52 (Dr. Hackett diagnosed Webster with antisocial

personality disorder); Ex. 103 at 55 (Dr. Spellman diagnosed Webster with antisocial

personality disorder); Ex. 163 at 2101 (Dr. Jeffrey Yates diagnosed Webster with

antisocial personality disorder); Hr. Tr. 481:3-8 (Dr. Fabian diagnosed Webster with

antisocial personality disorder). This condition explains his decision to engage in
                                               73
criminal behavior, and it explains many of his other bad choices. Bad choices that are the

result of an antisocial personality disorder simply do not meet the diagnostic criteria for

intellectual disability. DSM-5 at 38.

V.     Expert Witnesses

       Expert testimony, both at Webster’s original trial and at the hearing in this matter,

constitutes a large portion of the evidence relating to Webster’s intellectual ability. The

opinions of those experts are discussed at length above as they relate to various aspects of

the evidence. Nevertheless, due to the outsized importance of experts in this case, the

government provides the following brief summaries of the experts’ testimony and

opinions.

       A.     Trial experts

       Dr, Raymond Finn testified for Webster at his trial, and he concluded that Webster

had a 59 IQ. Ex. 101 at 17. But Dr. Finn did not perform any freestanding validity

testing, and did not analyze any embedded validity measures. Id. Dr. Denney analyzed

Dr. Finn’s raw test data, and was able to calculate a Reliable Digit Span score from the

data. Id. at 18. Webster’s score of 5 on Dr. Finn’s test was suggestive of malingering.

Id. Likewise, Webster’s pattern of answers on Dr. Finn’s tests were “more consistent

with feigned low IQ than they [were] with genuine low IQ.” Id.

       Dr. Dennis Keyes examined Webster and testified on his behalf at trial. Ex. 101 at

18. Webster produced a composite IQ of 55 for Dr. Keyes. Id. Dr. Keyes himself

expressed surprise at this extremely low number, and he testified that “I have to admit the
                                             74
first time I tested Bruce Webster, I felt very concerned because this is not a person who

comes off with an IQ of that area.” Hr. Tr. 332:23-334:3; Ex. 32. Moreover, Webster

produced widely discrepant subtest scores for Dr. Keyes — a 46 in fluid intelligence, and

a 67 in crystalized intelligence. Ex. 101 at 18. As discussed in more detail above, this

wide variation renders the composite score invalid. Dr. Keyes also did not appear to

administer any form of validity testing to Webster. Id. at 19.

       Dr. Robert Fulbright testified for Webster at trial. Ex. 101 at 22. Dr. Fulbright did

not conduct IQ testing, but instead he relied on testing done by other experts. Ex. 34 at

10. He conducted other testing, and testified that Webster did poorly on those tests. Id.

at 17-20. But he admitted that Webster raised three of the four red-flags set forth in the

DSM that indicate malingering. Id. at 40-42. And Dr. Fulbright does not appear to have

conducted any validity tests to determine whether Webster was malingering.

       Dr. George Parker testified for the government. He administered an IQ test to

Webster, and Webster scored a 72. Ex. 101 at 20. But Dr. Parker did not administer the

full test, so the data cannot be relied upon. Id. Dr. Parker did, however, provide useful

information about Webster’s adaptive abilities. Ex.148 at 1282-92. For instance, Dr.

Parker observed that Webster was able to speak in full sentences, address an envelope,

read stories aloud, and make his own bed. Ex. 148 at 1282-83. While these skills are

simple ones — and Webster’s current experts do not appear to disagree that he can do

these things — Dr. Keyes had previously claimed that Webster was unable to perform


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these tasks. Ex. 148 at 1281-83. Accordingly, Dr. Parker’s testimony cast further doubt

on the reliability of Dr. Keyes’s methods and conclusions.

       Dr. Richard Coons, a forensic psychiatrist, testified for the government. Ex. 101

at 23; Ex. 149. He testified that he evaluated Webster and found that he had a good

memory, was able to relate stories in a coherent and topical narrative, and was able to

stay on subject. Ex. 149 at 1352-54. He also observed Webster’s living skills and talked

to people who knew him. Id. at 1359-65. He opined that Webster functioned at a higher

level than is possible for mentally retarded people. Id. at 1367. He further opined that

Webster does not have any significant deficits in adaptive functioning. Id. Instead, he

said that Webster adapted well to the life he chose to live, a life that involved the

commission of crimes and incarceration in prison. Id. Webster could have chosen

otherwise, but chose not to pursue an ordinary lifestyle. Id.

        After hearing from all of these experts, and numerous fact witnesses, the district

court found that Webster was not mentally retarded, and that 18 U.S.C. § 3596 did not

apply. Tr. 26:227:22-25. The Fifth Circuit affirmed the sentence, and held that “[t]he

government presented substantial evidence to support the finding [that Webster was not

mentally retarded].” United States v. Webster, 162 F.3d 308, 353 (5th Cir. 1998).

       B.     Dr. Marc Tassè

       Dr. Marc Tassè testified at the hearing about intellectual disability in general. Hr.

Tr. 20:1-113:24. Dr. Tassè did not opine specifically about Webster. Most of Dr.

Tassè’s testimony was uncontroversial. He did, however, attempt to deny the existence
                                              76
of a diagnostic requirement that adaptive functioning deficits be related to intellectual

functioning deficits. Hr. Tr. 47:22-49:6. Dr. Tassè is simply wrong about this. The

DSM-5 clearly states that “to meet diagnostic criteria for intellectual disability, the

deficits in adaptive functioning must be directly related to the intellectual impairments.”

DSM-5 at 38. His opinion on this subject, therefore, should be disregarded.

         C.     Dr. Daniel Reschly

         Dr. Daniel Reschly frequently testifies in capital cases, and he does so exclusively

on behalf of criminal defendants. Hr. Tr. 303:4-8. Courts in these cases have found Dr.

Reschly’s testimony to “be unreliable and substantially lacking in credibility” and have

given his opinions “limited weight” and his conclusions “no weight.” Hr. Tr. 308:25-

310:8.

         Dr. Reschly conducted testing of Webster and concluded that Webster was

intellectually disabled. Hr. Tr. 292:9-14. But Dr. Reschly’s tests were mutually

contradictory, as explained above. Webster produced an IQ score of 53 for Dr. Reschly,

an extremely low score that is “ridiculously inconsistent with [Webster’s] behavior in the

community.” Ex. 101 at 45. This extraordinarily low score was also inconsistent with

Webster’s very good performance on the TOMM administered by Dr. Reschly. Hr. Tr.

699:25-700:13. The IQ score, therefore, should have been discarded as invalid. But Dr.

Reschly continued to rely upon it.

         Dr. Reschly also engaged in a “selective” review of the record as it pertained to

Webster’s adaptive functioning. Ex. 101 at 25. Dr. Reschly acknowledged that
                                              77
Webster’s scores on the MAT 6 and ABLE tests “would not be consistent overall with a

diagnosis of intellectual disability.” Hr. Tr. at 227:17-19. But he dismissed these results

as the product of cheating, even though there was no evidence that Webster cheated on

either test, and Webster had no incentive to do so. Dr. Reschly was also dismissive of all

evidence of adaptive ability from Webster’s time in jail or prison. Ex. 101 at 25. Given

that Webster has spent nearly all of his adult life, and many of his teen years, in jail or

prison, Dr. Reschly’s dismissal of this evidence leaves him with an extraordinarily

limited picture of Webster’s abilities.

       Dr. Reschly also attempted to cast evidence of Webster’s adaptive abilities during

the kidnapping of Lisa Rene as an indication of poor adaptive function, specifically the

lack of social skills, instead of evaluating the cognitive abilities that Webster displayed

during the crime. Ex. 101 at 25; Hr. Tr. 375:19-376:3. Dr. Reschly’s decision to view

the evidence strictly in a light that favors his diagnosis is wrong. To the contrary,

Webster’s criminal behavior “should be considered maladaptive behavior and not

indicative of poor adaptive function.” Ex. 101 at 25, n. 6.

        D.    Dr. John Fabian

       Dr. John Fabian reviewed testing conducted by other experts, and conducted some

validity testing of his own. Ex. 101 at 26. Webster failed the Nonverbal Medical

Symptom Validity Test (NV-MSVT) that Dr. Fabian administered, as he had failed both

validity tests performed by Dr. Denney. Id. at 26, 32-33. Dr. Fabian initially attempted

to insinuate that Dr. Denney had not used appropriate comparison samples. But during
                                              78
cross-examination, he admitted that Dr. Denney used “the best groups that we have

available for use in comparing Mr. Webster’s scores to the population we want to

compare against.” Hr. Tr. 817:24-818:2. He further conceded that he was “not

criticizing Dr. Denney” for his choice of comparison groups. Hr. Tr. 818:8-9.

       Ultimately, Dr. Fabian refused to admit that Webster was malingering: “my

concern is to go from, you know, the continuum of variable effort to slam dunk

malingering. I’m just not there.” Hr. Tr. 818:21-25. But he did admit that Webster’s

scores on validity tests differed from those of genuinely intellectually-disabled people,

and that Webster “had variable effort in his testing.” Hr. Tr. 818:23-819:6. Dr. Fabian

also admitted that the fact that Webster failed several validity tests was reason to at least

question the validity of all his other test results. Hr. Tr. 835:5-9.

       Despite all of the evidence of malingering, Dr. Fabian stood by his conclusion that

Webster was intellectually disabled. Hr. Tr. 835:13-14. He did, however, concede that

his diagnosis was “a tough call.” Hr. Tr. 836:5-9.

       E.     Dr. Robert Denney

       Dr. Robert Denney is a licensed clinical psychologist who is board certified in

clinical neuropsychology and forensic psychology. Ex. 101. Dr. Denney’s opinions are

discussed at length above, and are also set forth in his report. Ex. 101. In forming his

opinions, Dr. Denney conducted a clinical interview of Webster, performed two-days’

worth of testing, interviewed witnesses, and reviewed numerous records. Ex. 101 at 2-3.


                                              79
       Dr. Denney concluded that the low IQ scores that Webster produced for various

experts were inconsistent with his abilities. For instance, Dr. Denney explained, “[a] man

with an IQ of 53 could not perform on the ABLE Achievement test like Mr. Webster

[did].” Id. at 45. Likewise, Webster’s interactions with Dr. Denney during his two-day

examination were not consistent with intellectual disability. Id.

       Webster failed multiple freestanding validity tests, and produced scores on

embedded validity tests that were suggestive of malingering. Id. at 32-33. And

Webster’s scores on various tests were “clinically inconsistent with each other and more

like simulators [or malingerers] than genuine low IQ individuals.” Id. at 35. Dr. Denney

concluded that Webster was malingering on his IQ tests. Id. at 48.

       In terms of adaptive functioning, Dr. Denney found Webster to be manipulative of

others. Id. at 46. This findings was not only indicative of his cleverness, but also

concealed his abilities. By getting other people to do things for him, Webster sometimes

gave the impression that he could not do things himself. Id. at 46. But Webster was

quite capable. Indeed, his manipulative skills were “functionally adaptive to the criminal

lifestyle which manipulates and uses others to [his] own personal gain.” Id.

       Dr. Denney ultimately concluded that, “to a reasonable degree of scientific

certainty, [Webster] did not have intellectual disability at the time of the offenses and he

does not have it now.” Id. at 48.




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       F.     Drs. Erin Conner and Jacqueline Blessinger

       Dr. Jacqueline Blessinger was a staff psychologist for the Bureau of Prisons from

January 2017 until March 14, 2019, when she left to take a job with the Department of

Defense. (Blessinger Depo 45:24-46:5; 46:20-46:25.) In February 2018, she was

assigned to be the lead psychologist at the Special Confinement Unit (SCU) of the

Federal Correctional Facility at Terre Haute. (Blessinger Depo 46:15-46:19.) During her

time as lead psychologist for the SCU, she met with each inmate on an at-least monthly

basis, and she provided individual counseling services to inmates upon request.

(Blessinger Depo 51:4-53:10.) In this capacity, Dr. Blessinger met with Webster, who

was housed in the SCU, on a number of occasions. (Blessinger Depo 65:8-66:2; 72:15-

90:12.) She also spoke with SCU staff, including other psychologists, about Webster and

reviewed his records. (Blessinger Depo 90:13-91:25.)

       Dr. Blessinger is a school psychologist with extensive training and experience

relating specifically to the diagnosis of intellectual disabilities. (Blessinger Depo 18:7-

45:2.) Her background with intellectually disabled individuals made her particularly

aware of the ways in which that condition can affect behavior. Though she did not

conduct a formal evaluation of Webster, based on her training and experience, Dr.

Blessinger was able to testify that she observed certain behaviors in Webster that were

inconsistent with his having an intellectual disability. (Blessinger Depo 79:8-80:6;

107:6-108:23; 112:16-116:14.) Those behaviors, such as his strong conversational skills,

ability to regulate emotions, appropriate use of humor, and musical skills, are discussed
                                             81
in detail above. Dr. Blessinger also testified that during her interactions With Webster,

she did not observe anything that would lead her to suspect that he might have an

intellectual disability. (Blessinger Depo 124:24-125:13.) She further testified that had

she made any such observations, she would have referred Webster for additional

evaluation and testing. (Blessinger Depo 117:1-117:14; 124:24-125:13.) She did not do

so because, in her clinical judgement, there were no grounds to even suspect that he

might have an intellectual disability. (Blessinger Depo 124:24-125:13.)

       Dr. Erin Conner is a licensed psychologist working at USP Terre Haute who

visited Webster on a monthly basis for a period of several years. Hr. Tr. 848:16-860:13.

In all, she spent seven or eight hours conversing with him. Hr. Tr. 860:6-13. She spoke

to Webster at length both at his cell and during private meetings. Hr. Tr. 848:16-860:13;

874:1-18. She and Webster conversed about a wide variety of subjects, and Dr. Conner

counselled Webster during times of stress and bereavement. Id. Dr. Conner described

Webster as “cordial and polite,” someone who “articulates himself well,” who “appears

very well put together, very neat” and who is “very socially appropriate.” Hr. Tr. 882:18-

23. During her years of interaction with Webster, she has never had cause to doubt his

intellectual ability. Hr. Tr. 882:24-883:1. And, while she did not perform testing, she did

make observations that could factor into an evaluation of his abilities. Hr. Tr. 883:11-

884:11. She also reviewed his records, and consulted with other psychologists and prison

staff about Webster. Id. During all of her time interacting with Webster, Dr. Conner

never saw anything that caused her concern about his intellectual functioning, and she
                                            82
never saw any reason to refer him for testing. Hr. Tr. 889:15-22. Dr. Conner believed,

based on her interactions with Webster, her review of his file, and her consultations with

other psychologists, that Webster falls “within the normal range of intellectual

functioning.” Hr. Tr. 890:14-21.

       The opinions of Drs. Conner and Blessinger are particularly relevant here. While

neither conducted a formal examination, both are trained psychologists who observed

Webster repeatedly over many months. And even Dr. Fabian admitted that trained

psychologists can estimate an individual’s intellectual ability based on conversations with

that individual. Hr. Tr. 825:8-15. Thus, even without formal testing, the observational

opinions of Drs. Conner and Blessinger are valuable.

       Moreover, unlike the retained experts, neither Dr. Conner nor Dr. Blessinger were

hired to offer an opinion about Webster’s intellectual ability. They did not conduct

evaluations for litigation, and they have no stake in the outcome of this case.

Consequently, their interactions with Webster were organic and natural. Because neither

Dr. Conner nor Dr. Blessinger were visiting with Webster for the purposes of this

litigation, Webster had no reason to alter his behavior when interacting with them. And

because they were not performing testing or formal evaluations for the purposes of this

litigation, Webster had no reason to hide his abilities. Finally, unlike the retained experts,

both Drs. Conner and Blessinger visited Webster repeatedly over many months.

       Webster was able to malinger during his limited interactions with retained experts,

and he knew to do so because of the context of those interactions. But it would have
                                             83
been difficult or impossible for him to hide his abilities over many months of interactions

with Drs. Conner and Blessinger, particularly because those interactions were not tied to

this litigation. Drs. Conner and Blessinger, therefore, obtained a more accurate

impression of Webster than any other expert. And, during all of their interactions, neither

Dr. Conner nor Dr. Blessinger observed anything that would lead either one of them to

suspect that Webster suffered from intellectual disability.

VI.    Outstanding Legal Issues

       A.     Relevance of certain categories of evidence

       Webster has objected to several categories of evidence on the grounds that such

evidence is not relevant. Webster also argues that, even if admissible, such evidence

should be given little weight. While the Supreme Court has cautioned against certain

forms of analysis of intellectual disability those cautions must be understood in light of

the diagnostic criteria. The evidence to which Webster objects is relevant and admissible

when understood in the proper context.

              1.     Evidence of criminal conduct and prison behavior is admissible

       During the hearing, Webster repeatedly objected to evidence related to his

criminal conduct and behavior in prison. Neither medical guides, nor Supreme Court

precedent preclude this Court from considering such evidence.

       In assessing Webster’s adaptive abilities, this Court must be guided by the medical

community’s diagnostic criteria. Moore v. Texas, 137 S. Ct. 1039, 1048 (2017); Hall v.

Florida, 572 U.S.701, 721 (2014). Nothing in the DSM-5 or AAIDD-11 prohibits
                                             84
consideration of an individual’s past criminal conduct in determining whether adaptive

deficits are present. Similarly, when adaptive-behavior assessments are difficult because

the subject has been incarcerated, the manuals instruct caution, but do not prohibit

reliance on prison conduct to assess adaptive behavior. DSM-V at 38; AAIDD-11 at 45,

48, 96-97.

       Webster’s criminal behavior strongly undercuts his claim that he has significant

adaptive deficits. As discussed above, Webster’s behavior during the kidnapping

demonstrates that he took on a leadership role, gave orders to others, took rational and

steps to conceal the crime, and had a strong memory. His behavior demonstrates strong

abilities in the conceptual, social, and practical domains, and is clearly relevant to the

issue of his adaptive functioning.

       Likewise, Webster’s conduct while incarcerated belies any claim that his adaptive

abilities are impaired. As discussed above, evidence shows that Webster is well-groomed

and keeps an orderly cell, although neither habit is required. Webster converses regularly

with psychologists, who were able to evaluate his linguistic and behavioral abilities.

Webster was entrusted as an orderly and took academic classes. And Webster has spent

the majority of his life in prison, making it the environment to which he has had the most

time to adapt. The exclusion of prison behavior would mean ignoring a large portion of

Webster’s life.




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       In Atkins, the Supreme Court reasoned:

       Mentally retarded persons frequently know the difference between right and
       wrong and are competent to stand trial. Because of their impairments,
       however, by definition they have diminished capacities to understand and
       process information, to communicate, to abstract from mistakes and learn
       from experience, to engage in logical reasoning, to control impulses, and to
       understand the reactions of others. There is no evidence that they are more
       likely to engage in criminal conduct than others, but there is abundant
       evidence that they often act on impulse rather than pursuant to a
       premeditated plan, and that in group settings they are followers rather than
       leaders.

Atkins v. Virginia, 536 U.S. 304, 318 (2002); see also id. at 307 (“Because of their

disabilities in areas of reasoning, judgment, and control of their impulses, however,

[intellectually disabled individuals] do not act with the level of moral culpability that

characterizes the most serious adult criminal conduct.”). Webster’s criminal conduct and

behavior while incarcerated are clear windows into his behavioral abilities. Indeed, given

that this crime occurred almost 25 years ago, his criminal behavior and prison conduct

are, arguably, the best and most reliable evidence of his adaptive abilities.

       During the evidentiary hearing, counsel repeatedly cited the Supreme Court’s

opinions in Moore v. Texas, 137 S. Ct. 1039 (2017) (Moore I), and 139 S. Ct. 666 (2019)

(Moore II) for the assertion that this Court may not consider Inmate Webster’s criminal

conduct or prison conduct in assessing his adaptive abilities. Counsel grossly overstates

the holdings in the Moore decisions. In Moore I, the Supreme Court vacated Moore’s

death sentence because the Texas Court of Criminal Appeals (the CCA) “deviated from

prevailing clinical standards and from the older clinical standards the court claimed to

                                             86
apply” when it found no adaptive deficits. 137 S. Ct. at 1050. The Court held that the

CCA: 1) “overemphasized Moore’s perceived adaptive strengths,” id. at 1050 (emphasis

added); 2) improperly “stressed Moore’s improved behavior in prison,” id.; 3) improperly

discounted “risk factors” for intellectual disability, id. at 1051; 4) improperly required

Moore to show that his adaptive deficits were not related to a personality disorder, id; and

5) improperly relied on the state’s Briseno factors and evidentiary factors that were (i) not

included in clinical standards, (ii) were aligned with lay stereotypes of intellectual

disability, and (iii) were not used in any other context to determine intellectual disability.

Id. at 1051-52.

       Upon remand, the CCA again fell prey to several of the same errors. See Moore

II, 139 S. Ct. at 672 (“We conclude that the appeals court’s opinion, when taken as a

whole and when read in the light both our prior opinion and the trial record, rests upon

analysis too much of which too closely resembles what we previously found improper.”).

Of importance to the analysis in Webster’s case, the Moore II Court found that the CCA

“again relied less upon the adaptive deficits to which the trial court had referred than

upon Moore’s apparent adaptive strengths.” Id. at 670 (explaining the CCA disregarded

evidence of significant communication deficits in light of the fact that Moore wrote pro

se legal documents, for which there was no proof that Moore wrote himself, and that the

CCA gave too much weight to Moore’s adaptive improvements made in prison). The

Moore II Court also found that the CCA essentially still relied on the Briseno factors,

even if not by name. Id. at 671-72.
                                              87
         While there is still a relative dearth of case law substantively interpreting the

Moore decisions, 6 the Florida Supreme Court aptly distinguished the Moore I adaptive-

behavior analysis in Wright v. State, 256 So. 3d 766 (2018). Moore I was decided two

weeks after the Florida Supreme Court initially affirmed a post-conviction court’s finding

that Wright was not intellectually disabled. The Supreme Court summarily granted

certiorari and instructed the Florida Supreme Court to reconsider its opinion in light of

Moore I. On remand, the Florida Supreme Court confirmed its denial of Wright’s

intellectual disability claim. With regard to the adaptive functioning prong of the

intellectual disability analysis, the Florida court explained that, unlike the CCA in Moore,

the Florida Supreme Court and the lower post-conviction court in Florida applied

appropriate and current medical standards. Id. at 775. The court also noted that it had

never relied on the Briseno factors. Id The court then explained that “the only

remaining basis from Moore [I] that could even remotely entitle Wright to relief was an

alleged “overemphasis on adaptive strength and improper focus on prison conduct.” Id.

at 775-76.

         In response to its own question, the Florida Supreme Court stated in pertinent part:

         It is uncertain exactly where Moore [I] drew the tenuous line of
         “overemphasis” on adaptive strengths. In fact, that uncertainty spawned the
         dissent’s criticism. . . . Regardless of where the nebulous line of
         “overemphasis” is drawn, however, the Moore [I] majority noted that “even
         if clinicians would consider adaptive strengths alongside adaptive

6 Several cases have referenced Moore I, but the vast majority are either Texas cases relating to the use of the
Briseno factors or habeas cases questioning whether Moore I created a substantive rule that could apply retroactively
to give rise to a successive habeas petition. See, e.g., In re Payne, 722 F. App’x. 534 (6th Cir. 2018); Williams v.
Kelley, 858 F.3d 464 (8th Cir. 2017).
                                                         88
       weaknesses with the same adaptive-skill domain, neither Texas nor the
       dissent identifies any clinical authority permitting the arbitrary offsetting of
       deficits against unconnected strengths in which the CCA engaged.” This
       clarification strikes at the heart of the Supreme Court’s rationale and allows
       us to conclude that we did not “overemphasize” Wright’s adaptive strengths
       to an extent that ran afoul of Moore [I].

Id. at 776-77 (internal citations omitted) (explaining further that evidence of adaptive

strengths the court considered was “directly relevant to the conceptual domain,” the lone

domain at issue in that case).

       The instant case is consistent with Wright. There can be no question that the

inquiry regarding Webster’s adaptive abilities is guided by the appropriate medical and/or

clinical standards. This Court received extensive testimony from both parties’ experts

relating to the standards set forth in the DSM-V and AAIDD-11. There was also no use

of the Briseno factors, either overtly (as was condemned in Moore I), or covertly (as was

condemned in Moore II).

       Moreover, the criminal and prison behavior was not introduced to

“overemphasize” any adaptive strengths. As in Wright, this Court should conclude that

the Moore opinions do not prohibit reliance upon criminal or prison conduct. The Moore

I Court used the term “overemphasis,” which implies some emphasis is permissible. That

is, the Supreme Court did not categorically prohibit consideration of prison and criminal

conduct. As discussed above, Dr. Denney analyzed Webster’s criminal and prison

conduct in order to evaluate his adaptive abilities. But he did not rely on this evidence

exclusively, as he also analyzed interviews relating to Webster’s childhood, standardized

                                             89
measures, his own clinical assessment, and trial testimony from other expert witnesses.

Likewise, in the government’s analysis herein, evidence of Webster’s criminal conduct

and prison behavior are offered to demonstrate that Webster lacked deficits in particular

domains of adaptive functioning, not engage in “arbitrary offsetting of deficits against

unconnected strengths,” as was done in Moore I.

       In sum, neither clinical texts, nor Supreme Court case law prohibit this Court from

considering Webster’s criminal conduct or prison behavior in determining whether he has

significant limitations in adaptive functioning. The conduct is probative of Webster’s

adaptive ability and is, indeed, some of the most reliable evidence of his abilities given

the fact that his criminal conduct is well documented, and he has been incarcerated for

the past 25 years. This Court should admit this evidence and weigh it in light of all of the

available evidence of Webster’s adaptive functioning.

              2.      Evidence of adaptive abilities is relevant and admissible

       Even outside the context of prison behavior and criminal conduct, some have

argued that evidence of “adaptive strengths” is inadmissible. But the evidence is

admissible and highly probative when viewed in the proper context.

       In Moore II, the Supreme Court criticized a lower court for relying too heavily on

evidence of the defendant’s adaptive “strengths” while placing not enough weight on his

deficits. Moore II, 139 S.Ct. at 670-71. It is true that strengths in one area do not negate

deficits in another. A particular strength in the practical domain, for instance, does not

negate a deficit in the social domain. And if a significant deficit exists in the social
                                              90
domain, that is sufficient to satisfy the second prong of the diagnostic criteria regardless

of strengths in other domains.

       But evidence of “strengths” within a domain is relevant to demonstrate the

absence of deficits in that domain. So, the fact that a defendant did well in school is

relevant to demonstrate that he lacks deficits in the conceptual domain. Thus, this Court

should not take the Supreme Court’s guidance in Moore as a mandate that evidence of

Webster’s abilities cannot be considered. Webster’s abilities are always relevant to

demonstrate the absence of adaptive deficits in their respective domains.

              3.      Evidence of other psychological problems is relevant and
                      admissible

       Evidence of psychological conditions unrelated to intellectual disability, such as

antisocial personality disorder, is relevant to a determination of intellectual disability,

provided it is considered in the proper context.

       In Moore II, the Supreme Court held that evidence that a defendant had an

emotional disorder did not preclude the possibility that he also had an intellectual

disability. Moore, 139 S. Ct. 671. It is true that other psychological conditions can exist

alongside an intellectual disability. The existence of the former, therefore, does not

preclude the existence of the latter. But the DSM-5 clearly states that “to meet the

diagnostic criteria for intellectual disability, the deficits in adaptive functioning must be

directly related to the intellectual impairments described in [the intellectual functioning

criterion].” DSM-5 at 38. Accordingly, deficits in adaptive functioning that are

                                              91
unrelated to intellectual impairments do not satisfy the diagnostic criteria for intellectual

disability. Id. So, for instance, if an individual performed poorly in school due to an

undiagnosed hearing problem, his academic difficulties would not satisfy the second

prong of the diagnostic criteria. See, Ex. 101 at 40; Hr. Tr. 522:19-523:7.

        The existence of other psychological conditions does not preclude a diagnosis of

intellectual disability. But the adaptive functioning deficits that Webster relies upon to

satisfy the second prong of the diagnostic criteria must be related to a deficit in

intellectual functioning, and not be caused by some other condition. Thus, evidence that

some other psychological problem was the cause of an adaptive deficit is relevant and

should be considered.

        B.       Evidentiary objections 7

                 1.       Objections to documentary evidence

        Webster objects to the admission of trial transcripts and documentary evidence

admitted during the underlying trial. (Dkt. 153.) As the Court is aware, this matter is

essentially a 28 U.S.C. § 2255 proceeding challenging Webster’s sentence. To the extent

Webster did not object to the trial court or on appeal, the record, consisting of both

testimony and documentary evidence admitted at trial, is de facto a part of the record



7 The government withdraws exhibits 151, 168, 170, 172, and 174-175. The government did not rely on these
exhibits during the hearing in this matter, and they were not part of the evidence offered in the underlying trial.
Additionally, Webster objected in part to exhibits 150 and 164. The parties reached an agreement with respect to
those exhibits and the portions to which Webster objected were removed from the Court’s copy of the exhibits at the
conclusion of the hearing. The Court’s copy of these exhibits should contain the portions that the parties have
agreed are admissible.
                                                        92
before this Court. Per this Court’s statements at the hearing, the government believes this

Court agrees that the entire transcript of the original proceedings is evidence in this

Court. Hr. Tr. 7:6-8:4. However, out of an abundance of caution, the government

incorporates by reference its entire response to the motion to exclude (Dkt. 156), and

offers the following brief summary of its arguments for the Court.

                 2.       Trial transcripts

         Webster objects to all trial transcripts related to the underlying crime on the basis

of relevance. Evidence is relevant if “(a) it has any tendency to make a fact more or less

probable than it would be without the evidence; and (b) the fact is of consequence in

determining the action.” Fed. R. Civ. P. 401(a). Here, as explained above and in Section

VI(b) below, evidence of Webster’s actions before, during, and after the commission of

the crime, while not dispositive of intellectual disability, makes the existence of

intellectual disability far less probable. These transcripts are, therefore, relevant, and the

Court can weigh them appropriately in light of the expert testimony adduced at trial.

         Webster also objects to a small portion of the trial transcripts on the basis of

hearsay8 and under Rules 602 and 701. 9 Each of the contested statements was admitted

at trial without a hearsay objection from Webster, who had the assistance of counsel at all

times. None of the evidence was rejected on appeal. Habeas corpus relief under 28

U.S.C. § 2255 is limited to “an error of law that is jurisdictional, constitutional, or



8 The relevant transcripts are at Respondent’s Exhibits 110, 111, 133, 135, and 140.
9 The relevant transcripts are at Respondent’s Exhibits 133-034, and 136-139.
                                                        93
constitutes a ‘fundamental defect which inherently results in a complete miscarriage of

justice.’” Borre v. United States, 940 F.2d 215, 217 (7th Cir.1991) (quoting Carreon v.

United States, 578 F.2d 176, 179 (7th Cir.1978)). Any objections to those portions of the

testimony were waived.

                 3.       Webster’s school records

        Webster objects, in part, to the government’s evidence related to his school

attendance and performance on the basis of relevance and hearsay. 10 Evidence from his

school, including opinions of Webster documented by school personnel, makes the

likelihood of intellectual disability less probable. And while the government does not

dispute that these records are hearsay, there is no dispute as to the authenticity of these

school records, and Webster himself offers as exhibits records from his school, albeit

only the ones he believes helpful to his case. See Exs. 3 and 4. This Court should

overrule Webster’s objections and admit these exhibits under Rule 807.

        Finally, Webster objects to these exhibits on the basis of Rule 602. The

government did not rely on anything the school records for which there was no basis for

discerning personal knowledge. This Court should overrule Webster’s objections.




10 The relevant exhibits are Respondent’s Exhibits 162-164.
                                                       94
                4.         Economic Development Records and State Police Driving
                           Records

        Webster objects to the Southeast Arkansas Economic Development Records and

Arkansas State Police Driving Records on several bases. (Dkt. 153). 11 These records

were admitted at the underlying trial without objection from Webster, who had the

assistance of counsel at all times. Any objections to these records should be deemed

waived.

                5.         Bureau Of Prison Records

        Webster objects to the Bureau of Prisons (BOP) records offered as evidence in this

matter on several bases, including relevance. 12 As an initial matter, these records are not

offered as definitive evidence of whether Webster is intellectually disabled, and as noted

above and below, the government recognizes that such evidence should not be given

undue weight. But the evidence of Webster’s intellectual functioning prior to age 18 is

weak, contradictory, and mostly obtained from witnesses who were biased in Webster’s

favor. Moreover, Webster has spent most of his teenage and almost all of his adult life

incarcerated. Evidence of Webster’s behavior, conduct, and activities while incarcerated,

while not dispositive of intellectual disability, will assist this Court in weighing the

evidence and reduces the likelihood that Webster is intellectually disabled. The records

are, therefore, relevant.




11 Exhibits 166 and 167.
12 Exhibits 169 and 171.
                                               95
        Webster further objects to these exhibits on the basis of hearsay. However, BOP

employees provided testimony showing that these documents are admissible under the

business record exception to the hearsay rule. See Fed.R.Evid. 803(6). Rule 803(6)

provides in relevant part that

        [a] memorandum, report, record, or data compilation, in any form, of acts,
        events, conditions, opinions, or diagnoses, made at or near the time by, or
        from information transmitted by, a person with knowledge, if kept in the
        course of a regularly conducted business activity, and if it was the regular
        practice of that business activity to make the memorandum, report, record
        or data compilation, all as shown by the testimony of the custodian or other
        qualified witness,

Here, the government’s witnesses established that the BOP records qualified as an

exception to the hearsay rule by virtue of being official government records of regularly

conducted activity. See, e.g., Hr. Tr. at 863:18-864:16; 964:21-965:18. Webster does not

dispute that the BOP conducts the activities noted therein and records the activity at or

near the time in question in the normal course of business. 13 There was no dispute as to

the authenticity of the documents. These records should be admitted as exceptions to the

hearsay rule under Rule 803(6), or under the residual exception provision of Rule 807, as

they are formal BOP records for which there is circumstantial guarantees of

trustworthiness, they are offered as evidence of a material fact, they are more probative of

Webster’s mental functioning in prison than any other evidence, and admitting them will

best serve the purposes of the rules and the interests of justice.



13 As discussed below, Webster does raise one challenge to a few of mental health records not being finalized
immediately.
                                                        96
       With respect to the BOP mental health records, Webster complains that some of

the records cannot be considered to have been made “at or near the time by someone with

knowledge.” (Hr. Vol. 5 at 861:20-862:7). Webster refers to one record in particular

where an observation was made on September 29, 2017, but not recorded until November

27, 2017. (Id. at 862:2-5). The vast majority of the mental health records were clearly

completed at or near the time of the event in question. See, generally Ex. 169.

Moreover, the two-month delay does not de facto remove any individual record from

falling within the scope of Rule 803(6). Finally, the government notes that statements

within the mental health records qualify as exceptions to the hearsay rule under several

provisions of Rule 803. Specifically, the records qualify under Rule 803(3) to the extent

that they contain statements of Webster’s then-existing state of mind and emotional

condition, and under Rule 803(4) as statements made for medical diagnosis or treatment.

These records should be admitted.

       With respect to the BOP education records, Webster objects to the sponsoring

witness’s foundation for testifying that the records meet the exception. Hr. Tr. 963:21-

964:3. Specifically, Webster asserted that the witness, Phillip Woolston, could not testify

to record-keeping practices that predated his employment with the BOP. Id. However,

Woolton was the Supervisor of Education for the BOP. The records are BOP education

records, made specifically for the purpose of allowing the BOP to keep track of a

prisoner’s education performance and data. Hr. Tr. at 965:16-18. As the supervisor, it

was Woolston’s job to rely on the records. Hr. Tr. at 968:11-23. He printed the
                                            97
document and provided it for use in this case. Hr. Tr. at 964:21-965:2. He was familiar

with how the records were made. Hr. Tr. 965:3-18. Woolston, therefore, was more than

qualified to sponsor the BOP education records. See e.g. Ameritox, Ltd. V. Millennium

Health, LLC, 2015 WL 1520821 (W.D. Wisc. Apr. 3, 2015 (rejecting the contention that

a witness could not serve as a custodian because he had not been employed at the time of

the relevant records); see also Thanongsinh v. Bd. of Educ., 462 F.3d 762, 777 (7th Cir.

2006) (“The custodian of the records need not be in control of or have individual

knowledge of the particular corporate records, but need only be familiar with the

company’s recordkeeping practices.” (Citation omitted)). 14

         The other BOP witnesses also established the requisite personal knowledge to

satisfy Rule 602. See, e.g., Hr. Tr. at 873:6-22 (establishing that Dr. Conner had had a

number of conversations with Webster over a span of years). This Court should overrule

Webster’s objections.

         C.       Admissibility of Deposition Testimony

                  1.       Dr. Charles Spellman

         The government and Webster jointly submitted the deposition of Dr. Charles

Spellman in lieu of live testimony, pursuant to Federal Rule of Civil Procedure

32(a)(4)(B), with Webster reserving certain objections to the use of Dr. Spellman’s



14 It is unclear whether Webster is asserting an objection based on the fact that the testifying witness did not author
all the records. (See Hr. Vol. 5 at 862:8-13). The Seventh Circuit has made clear that the witness sponsoring
documents for purposes of Rule 803(6) does not have to have to be the author of the records. (See Thanongsinh, 462
F.3d at 777).
                                                         98
testimony. (See Dkts. 164, 164-1.) Webster asserted those objections in a separate filing,

(see Dkt. 171), to which the government responded. See Response to Motion to Exclude

(Dkt. 178.) The government incorporates by reference its entire response to that motion,

but it also offers the following brief summary of its arguments for the convenience of the

Court.

         On or about December 22, 1993, Dr. Charles Spellman conducted a psychological

evaluation of Webster to assist in the determination of his eligibility for Social Security

benefits. Ex. 103. Dr. Spellman created a report memorializing the results of that

evaluation. Id. Since at least 2009, Webster relied extensively on the information in that

report in an effort to establish that he should be considered intellectually disabled. See,

e.g., Motion for Authorization to File Successive Motion to Vacate Sentence, United

States v. Webster, No. 09-11039 (5th Cir. Oct. 22, 2009); Petition (Dkt. 1 at 19-20 (citing

Spellman Report).)

         On December 15, 2018, the government interviewed Dr. Spellman, and based on

the discussion, Dr. Spellman “speculate[d] Webster was malingering and not actually

mentally retarded” when he interviewed him in 1993. See Interview Summary (Dkt. 171-

1 at 5.) The government noticed Dr. Spellman’s deposition, and in advance of the

deposition it provided Webster with a Rule 26 disclosure naming Dr. Spellman as a non-

retained expert witness. See Expert Disclosure (Dkt. 171-1 at 1-4.) The disclosure

pointed out that the government had already provided Webster with a recording and

summary of Dr. Spellman’s December 2018 interview, and that it “anticipated that Dr.
                                             99
Spellman will provide testimony consistent with the statements provided in his December

28, 2018 interview.” (Id. at 2.) During Dr. Spellman’s deposition, the government posed

hypotheticals to Dr. Spellman and asked him whether, if a person demonstrated certain

abilities, that would be consistent or inconsistent with a finding of mental retardation.

See Spellman Deposition Transcript (Dkt. 164-1 at 59:3-64:18, 66:18-68:15.)

       Despite relying heavily on his opinions for nearly a decade, Webster argued that

the Court should exclude Dr. Spellman’s testimony because his non-retained-expert

disclosure contained neither “facts nor opinions.” See Motion to Exclude (Dkt. 171 at 5.)

Because the disclosure on its own satisfied Rule 26—and was supplemented by a

contemporaneously provided, fulsome summary and audio recording of a December 2018

interview on the same subjects covered in Dr. Spellman’s deposition—this argument has

no merit. Having this information a week before Dr. Spellman’s deposition categorically

precludes any credible claim of surprise about the subjects of his deposition.

       Federal Rule of Civil Procedure 26 indicates that a non-retained expert must be

disclosed, but the disclosure need only encompass “(i) the subject matter on which the

witness is expected to present evidence . . . and (ii) a summary of the facts and opinions

to which the witness is expected to testify.” See Fed. R. Civ. P. 26(a)(2)(C). If a party

fails to provide the required expert-witness information, or does so in an untimely

manner, Rule 37 states that “the party is not allowed to use that information or witness to

supply evidence on a motion, at a hearing, or at a trial, unless the failure was substantially

justified or is harmless.” Fed. R. Civ. P. 37(c)(1). But, courts possess considerable
                                             100
discretion in determining whether a violation warrants the exclusion of evidence or

witnesses. See Dynegy Mktg. & Trade v. Multiut Corp., 648 F.3d 506, 514-15 (7th Cir.

2011).

         This Court recently found in Williams v. Thorntons Inc. that expert disclosures far

less fulsome than Dr. Spellman’s, also from non-retained-expert doctors, were sufficient

under Rule 26(a)(2)(C). See 2018 WL 1924341, at *1-2. There, the plaintiff disclosed

three non-retained experts under Rule 26(a)(2)(C). See id. In the disclosures, the

plaintiff listed three of her treating physicians and listed brief, general summaries on the

subjects about which they would testify. See Exhibit to Response (Dkt. 178-1 at 4-6.)

The defendant challenged these disclosures, arguing that this Court should strike the

witnesses from offering their opinions. See Williams, 2018 WL 1924341, at *1. This

Court denied the request and held that all three disclosures were sufficient under Rule

26(a)(2)(C). Id. at *2.

         Like the Williams disclosure quoted above, the Rule 26 disclosure for Dr.

Spellman alone was sufficient. See Disclosure (Dkt. 171-1 at 1-4.) It included what the

government anticipated would constitute Dr. Spellman’s testimony: information about his

examination of Webster, its purpose, its limitations, as well as how facts unknown to him

at the time of his 1993 report might have influenced his conclusions. (See id. at 2.) But

the government also noted that it expected Dr. Spellman’s testimony to be consistent with

his December 2018 interview and provided a summary of that interview as well as a

recording of the interview in its entirety. This additional information far exceeds the
                                             101
disclosures the Court found sufficient in Williams, and Webster has presented no case law

or statute that indicates such a fulsome disclosure is insufficient.

       Webster’s contention that Dr. Spellman’s Rule 26 disclosure did not contain facts

or opinions was simply false. See Motion (Dkt. 171 at 2.) The disclosure indicated that

the government expected Dr. Spellman to testify consistently with the statements made

during his interview and it incorporated both the written summary of that interview and a

verbatim recording. See Disclosure (Dkt. 171-1 at 2 (“It is anticipated that Dr. Spellman

will provide testimony consistent with the statements provided in his December 28, 2018

interview.”). The interview contained an extensive discussion about Webster and

subjects covered in Dr. Spellman’s deposition, and Webster’s attempt to elide this

extensive information in favor of a hyper-narrow view of the disclosure alone is therefore

unavailing.

       Further, there are lesser measures Webster could have taken in lieu of the extreme

relief he sought on the eve of the hearing. For instance, he could have sought a second

deposition of Dr. Spellman. Instead, he waited until the day before the last business day

prior to the hearing to seek the extreme sanction of total exclusion of Dr. Spellman’s

testimony. This request has no basis in the case law and it ignores the substantial amount

of information the government provided about Dr. Spellman. Webster has failed to that

this Court should exclude Dr. Spellman’s testimony. The testimony should be admitted.




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              2.     Dr. Jacqueline Blessinger

       On March 26, 2019, the government filed its Motion to Admit Deposition

Testimony of Dr. Jacqueline Blessinger in Lieu of Live Testimony. (Dkt 166.) Webster

filed a response, and the government filed a reply to that response on March 29, 2019.

(Dkt 170, 179.) The arguments for the admission of Dr. Blessinger’s testimony are

detailed in those filings, and the government incorporates its briefing fully herein. The

government, however, offers the following brief summary of those arguments for the

convenience of the Court.

       Dr. Blessinger was deposed by Webster’s attorneys on March 11, 2019. Prior to

the deposition, the government notified Webster’s counsel that Dr. Blessinger was

leaving the Bureau of Prisons and moving to the Washington, D.C., area and that she

would likely be unavailable for the hearing. Webster’s counsel made note of this fact on

the record, and proceeded to take the deposition.

       Federal Rule of Civil Procedure 32(a) allows the use of all or a part of a deposition

in lieu of live testimony if (1) the opposing party was represented at the deposition, (2)

the deposition testimony is otherwise substantively admissible, and (3) the witness is

unavailable. Webster was represented at Dr. Blessinger’s deposition. In fact, Webster

noticed the deposition and his counsel conducted the overwhelming majority of the

questioning. (Blessinger Depo at 4:8-127:13; 132:8-136:4). As illustrated in numerous

citations above, Dr. Blessinger’s testimony is relevant to issues that are central to this

case. Finally, Dr. Blessinger was unavailable for the hearing. Dr. Blessinger left her job
                                             103
with the Bureau of Prisons on March 14, 2019, and took a job with the Department of

Defense in Washington, D.C. (Blessinger Depo at 46:21-46:25; 136:16-136:17.) She

now works and resides more than 100 miles from the location of the upcoming hearing,

and is therefore an “unavailable witnesses” under Rule 32(a)(4)(B). (Blessinger Depo at

136:16-136:17.) Accordingly, under Rule 32(a), Dr. Blessinger’s deposition testimony is

admissible. See Ueland v. United States, 291 F.3d 993, 996-97 (7th Cir. 2002) (“[The

rule] does not condition admissibility on the witness’ inability to show up in court; 100

miles is a bright line.”)

       Although Webster was told that Dr. Blessinger would likely be unavailable for the

hearing prior to the deposition, he complains that he had insufficient notice of this fact.

But there is no authority to support his argument that any notice is required for the

admission of testimony under Rule 32(a)(4), much less that notice must occur some

number of days before the deposition. Rule 32(a)(4) contains no notice requirement.

       Webster also complains that the government (meaning Dr. Blessinger’s

supervisors at the Bureau of Prisons) knew about her departure weeks before the

deposition. But this complaint is also irrelevant. Whether Dr. Blessinger’s supervisors

knew about her departure prior to telling government’s counsel on the morning of her

deposition is of no import. Again, Rule 32(a)(4) contains no notice requirement. And, at

any rate, counsel for the government notified Webster’s counsel about the situation

immediately after speaking to BOP counsel on the morning of the deposition.


                                             104
       Webster knew about Dr. Blessinger’s relocation prior to the deposition and could

have framed his questions accordingly or asked to reschedule. He chose to proceed with

the deposition, and Dr. Blessinger’s testimony should be admitted under Rule

32(a)(4)(B).

VII.   Conclusion and Proposed Findings of Fact

   For the reasons set forth above, the government proposes that the Court deny

Webster’s motion and enter the following findings of fact:

       1.      Webster has failed to meet his burden of proving that he is so intellectually

               disabled that he is categorically ineligible for the death penalty.

       2.      In order to do so, Webster would have to show that he has (1) significant

               deficits in intellectual functioning; (2) significant deficits in adaptive

               functioning; (3) that the deficits developed when Webster was a minor; and

               (4) that the adaptive functioning deficits were related to the deficits in

               intellectual functioning. He has failed to do so.

       3.      Webster cannot prove that he has significant deficits in intellectual

               functioning. Intellectual functioning is usually measured by IQ scores, and

               scores between roughly 55-70 can be indicative of mild intellectual

               disability.

       4.      Webster has produced a number of IQ scores in this range, but there is

               ample reason to doubt the validity of those results.


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5.   First, Webster’s scores are inconsistent. They range from 48 on the low-

     end, to 72 on the high end, a statistically significant variation of well over

     one standard deviation. And even if objections to the accuracy of those two

     extreme results are credited, his second-lowest (51) and second highest (65)

     scores also vary by almost exactly one standard deviation. Webster’s IQ

     scores show a degree of inconsistency far too great to be accounted for by

     the standard error of measurement. This fact alone is reason to doubt the

     validity of his test scores.

6.   Likewise, there is extreme variation between his subtest scores. For

     instance, on the test administered by Dr. Hackett for the Social Security

     Administration, Webster’s verbal score was 71 and his performance score

     was 49. On a test administered by defense expert Dr. Keyes prior to trial,

     Webster produced a 67 crystal intelligence score, and a 46 fluid intelligence

     score. In both of these examples, the subtest scores deviate from one

     another by more than 20 points. As the test publishers suggest, and Dr.

     Denney testified, these scores indicate that the test results are invalid.

     Moreover, Webster’s extremely low scores on certain subtests is

     inconsistent with much higher scores on the same subtests during other test

     administrations. These inconsistencies all point to invalid results.

7.   Webster’s IQ scores are also inconsistent with his observed abilities.

     Several witnesses, including Webster’s own experts, expressed surprise at
                                    106
      the discrepancy between his low IQ scores and his real world abilities.

      When IQ scores and real world abilities are inconsistent with one another,

      psychologists question the validity of the scores.

8.    These inconsistencies were due largely to Webster’s extremely low IQ

      scores. While disabled people with higher scores might be able to duplicate

      some of Webster’s abilities, Webster’s scores are simply too low for him to

      have such skills. In other words, had Webster’s IQ scores been an accurate

      reflection of his intellectual ability, he would not have been able to do

      many of the things he has indisputably been able to do.

9.    The discrepancies between Webster’s IQ test scores and his observed

      abilities is best resolved by the conclusion that Webster was malingering

      during the tests. It is, after all, easier to throw a test than it is to fake a

      disability for a prolonged period of time in daily interactions.

10.   Webster, of course, had strong incentives to malinger on all of his IQ tests.

      The vast majority of those tests were conducted during various phases of

      his death penalty litigation and his motive to malinger was clear: to avoid

      execution. But he also had a motive to malinger on the test performed by

      the Social Security Administration: to obtain a financial benefit. Indeed,

      the psychologist that administered that test specifically opined that Webster

      may have been malingering. (The remaining test, a 48 IQ score achieved

      during a test administered by the Arkansas Department of Public Health, is
                                       107
      so implausibly low that even Webster’s own experts appear to give it no

      weight.)

11.   There is also scientific evidence that Webster was malingering. Webster

      failed several reliable validity tests. These tests were administered by both

      Webster’s expert and an expert for the government. Webster’s failure on

      these tests show that he was not giving a full effort when he was being

      tested. Although there are several reasons that an individual might not

      produce maximal effort on a standardized test, given the context of this

      testing and the history of this case, malingering is by far the most likely

      explanation here, and the Court so finds.

12.   Without any reliable IQ scores, Webster cannot meet his burden of

      establishing the first prong of intellectual disability. His claim, therefore,

      fails. But, even if he could meet this prong, he fails to meet the second

      prong.

13.   Webster has failed to establish that he has significant deficits in adaptive

      functioning.

14.   Webster functions well in all three domains of adaptive functioning.

15.   In the conceptual domain, Webster has the ability to read and write well as

      demonstrated by numerous witness accounts and documented by emails

      sent from prison. He is able to handle money, as demonstrated by the

      testimony of his ex-girlfriend, Sylvia Henry, and his ability to successfully
                                     108
      manage a drug-dealing business. His executive functioning is good as

      shown by his ability to plan, strategize, and adapt to changing

      circumstances. His escape, undetected on several occasions, from the

      men’s section of Mansfield Jail to the women’s section was particularly

      clever, and required him to devise a plan, time his escape, pick a lock, and

      escape through a food chute. Likewise, during the course of the

      commission of this crime, Webster demonstrated an ability to plan,

      strategize, and adapt, particularly in his numerous efforts to conceal his

      crime by destroying forensic evidence.

16.   Webster’s scores on standardized achievement tests, such as the MAT 6

      and the ABLE tests, also show that he has normal, if slightly below

      average, academic ability. Webster’s experts admit that his performance on

      these tests is inconsistent with a diagnosis of intellectual disability. They

      attempt to save their diagnoses by suggesting that Webster cheated on these

      tests, but Webster has offered no evidence that he cheated, and he would

      have had no incentive to do so.

17.   It is also important to note that Webster was raised in severely

      underprivileged and abusive circumstances. He dropped out of school in

      the ninth grade, and he had chosen a life of crime even before that. To the

      extent that he has academic shortcomings, they are the result of a poor

      opportunities and a lack of motivation, not a lack of intellectual ability.
                                     109
18.   Webster does not have significant deficits in the social domain. To the

      contrary, he fares quite well in this area. Webster is a strong

      conversationalist as reported by several sources. He manages his emotions

      maturely, and displays a good ability to use and understand humor. He has

      formed and maintained strong social relationships with family members,

      friends, and romantic partners. And Webster has repeatedly displayed an

      ability to manipulate others. Gullibility is a hallmark of intellectual

      disability, and Webster is anything but gullible. He is not easily fooled and

      frequently manipulates other people to his own advantage. Webster is not a

      gullible victim, but a cunning predator.

19.   Webster does not have significant deficits in the practical domain. Webster

      can drive a car on his own, manage money, play musical instruments, and,

      by all accounts take good care of himself. Many witnesses report that his

      hygiene, organization, and manner of dress is exemplary and has been since

      his childhood. Webster has also been able to hold a job, albeit it criminal in

      nature. Nevertheless, being a successful drug dealer is no less demanding

      than holding any number of legitimate jobs, and Webster was able to

      navigate the challenges of that occupation without any apparent difficulty.

      And, to the extent that Webster has any shortcomings in this area, they are




                                    110
      the result of lack of opportunity and motivation. For instance, his apparent

      need for assistance with air travel most likely stems from his lack of

      previous exposure to air travel due to his underprivileged upbringing.

20.   Webster, therefore, has failed to establish that he has deficits in adaptive

      functioning sufficient to support a diagnosis of intellectual disability. For

      this reason alone, his claim fails.

21.   Webster has also failed to establish that any of his alleged deficits are

      related to a deficit in intellectual functioning, as required by DSM-5. To

      the extent that Webster has some behavioral shortcomings, those

      shortcomings are not the product of a low IQ, but are the result of antisocial

      personality disorder, lack of motivation, and lack of opportunity.

      Accordingly, these deficits do not satisfy the diagnostic criteria for

      intellectual disability.

22.   Webster has failed to meet his burden of proving that he a deficit in

      intellectual functioning. Webster had failed to prove that he has significant

      deficits in adaptive functioning. And Webster has failed to prove that any

      of his behavioral deficits are caused by a low IQ. For each of these reasons,

      independently and collectively, Webster’s claim fails.

23.   This Court finds that Webster has failed to prove that he is intellectually

      disabled. His motion is denied and Webster remains eligible for the death

      penalty.
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                                                 Respectfully submitted,

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                            CERTIFICATE OF SERVICE
       I certify that on May 24, 2019, I electronically filed the foregoing document with

the Clerk of the Court using CM/ECF. I also certify that the foregoing document is also

being served this day on all counsel of record as listed on the CM/ECF’s notice of

electronic filing.

                                                 s/ Jay Weimer
                                                 Jay Weimer




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